SIDLEY AUSTIN ue

ONE SQUTH DEARBORN
CHICAGG, IL 60603
(312) 853 7000

(312) 853 7036 FAX

March 31, 2010

Case 08-13141-BLS Doc 3904-2 Filed 03/31/10 Page 1 of 73

SIDLEY!

BENING NEW YORK
BRUSSELS PALO ALTO
CHICAGO SAN FRANCISCO
DALLAS SHANGHAI
FRANKFURT SINGAPORE
GENEVA SYDNEY

HONG KONG TOKYO

LONDON WASHINGTON, DC

LOS ANGELES

FOUNDED 1866

FEDERAL ID XX-XXXXXXX

Tribune Company
435 N. Michigan Ave.
Chicago, Illinois 60611

PLEASE INDICATE INVOICE
NUMBER ON REMITTANCE
Invoice Number 30014644
Client Matter 90795-20100

For professional services rendered and expenses incurred through
February 28, 2010 rc FCC Post Bankruptcy Matters

Fees

Total Due This Bill

$32,376.00

$32,376.00

Remit Check Payments To:
Sidley Austin LLP

P.O. Box 0642

Chicago, Illinois 60690

Remit Wire Payments To:
Sidley Austin LLP

JP Morgan Chase Bank, NA
Account Number: 5519624
ABA Number: 071000013
Swift Code: CHASUS33KXX

Due and Payable Upon Receipt
Case 08-13141-BLS Doc 3904-2 Filed 03/31/10 Page 2 of 73
SIDLEY AUSTIN uP

Invoice Number: 30014644
Tribune Company

RE: FCC Post Bankruptcy Matters

TIME DETAIL

Date Name Narrative

02/01/10 LJ McCarty KTLA - Review e-mail from client regarding 2GHz auxiliary
license (,30); e-mail to T, Van Wazer regarding same (.10);
respond to e-mail from T. Van Wazer regarding same (.10)

02/02/10 LJ McCarty WGN-TV - Review and reply to e-mail from Clark Wadlow
regarding grant of WGN-TV DTV license modification (.30),
e-mail to client, consulting engineer and T. Van Wazer
regarding same (.20)

02/03/10 TP Van Wazer WGN (AM) - Review list of AM, FM stations, applications
within 50 miles of Columbus to assist broker in identifying
possible acquisition candidates to improve WBNS-AM's
coverage (0.6); email to B. Byrnes regarding same (0.2)

02/04/10 LJ McCarty WTXX - Finalize and submit auxiliary modification in ULS
(.50) submit fee payment FCC (.50); e-mail to chlent regarding
same (.10)

02/04/10 LJ McCarty WTTYV - Review and reply to c-mails from client regarding
extension of buildout deadline for auxiliary license KSG42
(50)

02/08/10 TP Van Wazer KCPQ: review c-mail from frequency coordinator regarding
status of 2 GHz broadcast auxiliary KQ8456 (0.2); e-mails to
M. Goodman confirming transition has been completed (0.1)

02/09/10 LJ McCarty WTTV - Review and reply to e-mails from client relating to
extension of buildout construction deadline for KSG42 (.50)

02/10/10 LJ McCarty WTTYV - Revicw and reply to further e-mails from clicnt
relating to extension of buildout deadline for KSG42 (.50)

02/10/10 TP Van Wazer WTTV - E-mails with E. Washburn, Rick K regarding

construction extension filing needed for KSG42, 2 GHz
broadcast auxiliary, and fixed microwave (0.2); draft exhibit
supporting request for construction extension (.30); revicw and
incorporate comments from Rich K (.20)

02/11/10 LJ McCarty KCPQ - Revicw and reply to e-mail from client regarding
upcoming expiration of business radio license (.30)

02/11/10 MD Schneider Review proposal for publishing distribution

02/12/10 MD Schneider Revicw publishing licenses and restructuring - FCC
requirements and correspondence on results

02/12/10 TP Van Wazer KCPQ: telephone call with M. Goodman regarding possible

repurposing of various analog/digital translators to carry
different programming (.30); related follow-up FCC policy
review (.20)

Hours

50

30

80

1.10

50

30

50

30

70

30

2.50
1.80

50

SIDLEY AUSTIN uP

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Invoice Number: 30014644

Tribune Company

RE: FCC Post Bankruptcy Matters

Date
02/15/10

02/15/10

02/16/10

02/16/10

02/16/10

02/16/10

02/16/10

02/16/10

02/16/10

02/17/10

02/17/10

02/17/10

02/17/10

02/17/10

Name

LJ McCarty

MD Schneider

LJ McCarty

LJ McCarty

LJ McCarty

LJ McCarty

LJ McCarty

LJ McCarty

LJ McCarty

LJ McCarty

LJ McCarty

LJ McCarty

LJ McCarty

LJ McCarty

Narrative

KCPQ - Review and reply to c-mail from client regarding
license renewal (.30); telephone call to client regarding same
(.30); prepare and submit two business radio license renewals
(1.60); submit filing fees to FCC for same (.30)

Review and correspond on publishing restructuring and
requisite FCC approvals

WTXX - Prepare instructions to station manager regarding
placement of recently filed applications in station's public
inspection file (.50)

Tribune General - E-mail inquiry to client regarding call sign
request (.10); review response from client to same (.10)

KCPQ - Prepare instructions to station manager regarding
placement of recently filed applications in station's public
inspection file (.50)

WPIX - Check status of pending application(s) in various FCC
databases (.50); update client public inspection files regarding
same (.30)

WTXX - Check status of pending application(s) in various
FCC databascs (.50); update client public inspection files
regarding same (.30)

KCPQ - Check status of pending applications in various FCC
databases (.80); update client files public inspection regarding
same (.30)

WNOL - Check status of pending application(s) in various
FCC databases (.50); update client public inspection files
regarding same (.30)

WGN-TV - Check status of pending earth station assignment
application (.30); telephone call to FCC staff regarding same
(.30)

WTTV - Review and reply to e-mail from T, Van Wazer
regarding extension of time to complete construction for
KSG42 (.10); research buildout deadlines for same (.40);
discussion with T, Van Wazer regarding same (.20)

WGN-TV - Discussion with M. Schneider regarding pleadings
relating to Petition to Deny renewal (.50); begin research for
same (2.00)

WGNO - Check status of pending application(s) in various
FCC databases (.50); update client public inspection files
regarding same (.30)

WTIC - Check status of pending application(s) in various FCC
databases (.50); update client public inspection files regarding

Hours

2.50

2,00

50

20

0)

80

80

1.10

80

.60

70

2.50

80

80
SIDLEY AUSTIN uP

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Invoice Number: 30014644

Tribune Company

RE: FCC Post Bankruptcy Matters

Date

O2/V7/10

02/17/10

02/18/10

02/18/10

02/18/10

02/18/10

02/18/10

02/19/10

02/19/10

02/19/10
02/22/10

02/22/10

02/22/10

Name

LJ McCarty

LJ McCarty

LJ McCarty

LJ McCarty

LJ McCarty

MD Schneider

TP Van Wazcr

LJ McCarty

LJ McCarty

MD Schneider
LJ McCarty

LJ McCarty

LJ McCarty

Narrative
same (.30)

KMYQ - Check status of pending application(s) in various
FCC databases (.50); update client public inspection filcs
regarding same (.30)

KTXL - Check status of pending application(s) in various FCC
databases (.50); update client public inspection files regarding
same (.30)

KRCW - Confirm status of translator (.10); update CBDS files

regarding ownership (.40); discussion with FCC staff regarding
consummation notice and request to update database regarding

same (1.00)

Review and respond to e-mail from Dow Lohnes regarding
restructuring applications (.6) revisc FRN/CDBS data for same
(2.9)

Tribune Gencral - Review and reply to e-mails from client
regarding business radio licenses held by Newsday (1.20),
research FCC database to confirm ownership status of same
(1.30)

Roview research response on Application for Review - license
renewal

WGN-TV: research application for review (03); email to FCC
staff confirming that Media Center earth station could be sold
during bankruptcy (0.2)

WITTYV - Edit narrative for auxiliary extension request (.50);
review and reply to e-mails from T. Van Wazer regarding same
(30); finalize and submit extension request in CDBS (.50);
prepare instructions to station manager regarding placement of
filing in station's public inspection file (.50)

WGN-TV - Check status of earth station assignment (.10); e-
mail to T. Van Wazcr regarding same (.10); research client
files for all pleadings relating to Petitions to Deny Renewal of
License (4.00)

Review application for Review (1.1); review past filings (0.4)

WGN-TV - Research and obtain pleadings relating to CMA
Petition to Deny WGN-TV Renewal (.70); discussion with M.
Schneider regarding same (.30)

WGN-TV - Check status of pending earth station assignment
(30); telephone call and e-mail to T. Van Wazer regarding
same (.20)

WPHL - Check status of pending application(s) m various FCC
databases (50); update clicnt public inspection files regarding

Hours

80

80

1.50

3.50

2.50

2.30

50

1.80

4.20

1.50
1.00

30

80

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Invoice Number: 30014644

Tribune Company

RE: FCC Post Bankruptcy Matters

Date

02/22/10

02/22/10

02/23/10

02/24/10

02/24/10

02/24/10

02/25/10

02/25/10
02/25/10

02/26/10

02/26/10

02/26/10

02/26/10

02/26/10

Name

LI] McCarty

LJ McCarty

LJ McCarty

LJ McCarty

MD Schneider

TP Van Wazcr

LJ McCarty

LJ McCarty
MD Schneider

LJ McCarty

LJ McCarty
LJ McCarty

LJ McCarty

MD Schneider

Narrative
same (.30)

WXIN - Check status of pending application(s) in various FCC
databases (.50); update client public inspection files regarding
same (.30)

WTTK - Check status of pending application(s) in various FCC
databases (.50); update client public inspection files regarding
same (.30)

Review and reply to e-mail from client regarding Form 396A
data needed for restructuring applications (0.9); review 2007
data for K call signs (1.0); update Form 396A's regarding same
(7.1)

Review and reply to e-mail from client regarding Form 396A
data needed for restructuring applications (0.6); review 2007
data for W call signs (2.0); update Form 396As regarding same
(4.9)

Draft Opposition to Application for review - renewal
application challenge

KRCW - Review, respond to e-mail from M. Goodman
regarding possible broadcast different programming streams of
LPTV channel 5 in Portland

Complete review of Form 396A data needed for restructuring
applications (3.9); prepare memorandum to Dow Lohnes
regarding same (4.1)

Check status of pending earth station application assignment

Review and draft arguments - oppose challenge to renewal
application in Schwartzman Application for review

Discussion with E. Washburn re: billing practices (.1);
discussion regarding ownership (.40); begin collating
ownership data for reports relating to restructuring (3.0)

KCPQ - Check status of pending wireless applications (.80);
update client public inspection files re: same (.50)

WTTV - Check status of pending wireless application (.30);
update client file re: same (.20)

KTLA - Review cmail from local frequency coordinator
regarding 2GHC license (.20); research FCC database and
client files re: same (.50); reply to email from frequency
coordinator re: same (.30)

Revicw pleading and argument points - Media Access Petition
to Deny and Application for Review (2.0); calls to FCC staff
on joint pleading and opposition (0.5)

Hours

80

80

9.00

7.50

2,00

50

8.00

10
3,00

3.50

1.30

50

1.00

2,50
Case 08-13141-BLS
SIDLEY AUSTIN ue

Invoice Number: 30014644
Tribune Company

RE: FCC Post Bankruptcy Matters

Date Name
02/26/10 TP Van Wazer
02/26/10 TP Van Wazer

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Narrative Hours

WGN-TV: telephone call with FCC staff regarding status of 50
sale of Media Center earth station

KTLA: review e-mails from D. Cox, L. McCarty regarding .30
series of 2 GHz licenses still held by KTLA to be deleted

Total Hours 88.10
Case 08-13141-BLS Doc 3904-2 Filed 03/31/10

SIDLEY AUSTIN itp

Invoice Number: 30014644
Tribune Company

RE: FCC Post Bankruptcy Matters

Name

MD Schneider
TP Van Wazer
LJ McCarty

Total Hours and Fees

TIME SUMMARY

Hours
17.60
4.10
66.40
88.10

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Rate
$700.00
600.00
265.00

Amount
$12,320.00
2,460.00
17,596.00

$32,376.00
Case 08-13141-BLS Doc 3904-2 Filed 03/31/10

SIDLEY|

Tribune Company
435 N. Michigan Ave.
Chicago, Illinois 60611

SIDLEY AUSTIN we BEIJING
ONE SOUTH DEARBORN BRUSSELS
CHICAGO, IL 60603 CHICAGO
(312) 853 7000 DALLAS
(312) 853 7036 FAX FRANKFURT
GENEVA
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LONDON
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March 31, 2010

Page 8 of 73

NEW YORK

PALO ALTO

SAN FRANCISCO
SHANGHAI
SINGAPORE
SYDNEY

TOKYO
WASHINGTON, DC

FEDERAL ID XX-XXXXXXX

PLEASE INDICATE INVOICE
NUMBER ON REMITTANCE

Invoice Number 30014645
Clicnt Matter 90795-20120

FOR PROFESSIONAL SERVICES RENDERED - and expenses
incurred through February 28, 2010 re Nextel Negtiations

Fees

Total Due This Bill

$780.00

$780.00

Remit Check Payments To:
Sidley Austin LLP

P.O. Box 0642

Chicago, Illinois 60690

Remit Wire Payments To:
Sidlcy Austin LLP

JP Morgan Chase Bank, NA
Account Number: 5519624
ABA Number: 071000013
Swift Code: CHASUS33XXX

Payment is Due Within 30 Days of Receipt of Invoice
Case 08-13141-BLS Doc 3904-2 Filed 03/31/10 Page 9 of 73
SIDLEY AUSTIN itp

Invoice Number: 30014645
Tribune Company

RE: Nextel Negotiations

TIME DETAIL

Date Name Narrative Hours

02/17/10 TP Van Wazer Review, edit exhibit requesting 2 GHz BAS construction 50
deadline extension duc to Sprint relocation

02/19/10 TP Van Wazer E-mails with L. McCarty regarding BAS license (0.2); revise, 50

supplement draft exhibit supporting BAS construction deadline
extension (0.3)

02/23/10 TP Van Wazer Review and circulate modified BAS license with extended 30
build-out deadline

Total Hours 1.30
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SIDLEY AUSTIN up

Invoice Number: 30014645
Tribune Company

RE: Nextel Negotiations

Name
TP Van Wazcr

Total Hours and Fees

TIME SUMMARY

Hours

1,30
1.30

Rate
$600.00

Amount
$780.00
$780.00
Case 08-13141-BLS Doc 3904-2 Filed 03/31/10 Page 11 of 73

SIDLEY AUSTIN ur
ONE SOUTH DEARBORN

SIDLEY AUSTIN LLP
CHICAGO, IL 60603
ID] E y | (312) 853 7000
(312) 883 7036 FAX

March 31, 2010

Tribune Company
435 N. Michigan Ave.
Chicago, Illinois 60611

BEIJING
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SINGAPORE
SYDNEY

TOKYO
WASHINGTON, DC

FEDERAL 10 XX-XXXXXXX

PLEASE INDICATE INVOICE
NUMBER ON REMITTANCE
Invoice Number 30014646
Client Matter 90795-30390

For professional services rendered and expenses incurred through
February 28, 2010 re Fee Applications

Fecs

Total Due This Bill

$32,366.00

$32,366.00

Remit Check Payments To:
Sidley Austin LLP

P.O, Box 0642

Chicago, Illinois 60690

Remit Wire Payments To:
Sidley Austin LLP

JP Morgan Chase Bank, NA
Account Number: 5519624
ABA Number: 071000013
Swift Code: CHASUS33XXX

Due and Payable Upon Receipt
Case 08-13141-BLS
SIDLEY AUSTIN uP

Invoice Number: 30014646
Tribune Company

RE: Fee Applications

Date Name
02/01/10 DJ Lutes
02/02/10 L Femandez
02/02/10 KT Lantry
()2/02/10 JK Ludwig
02/02/10 DJ Lutes
02/03/10 DJ Lutes
02/04/10 KT Lantry
02/04/10 DJ Lutes
02/05/10 L Femandez
02/05/10 DJ Lutes
02/08/10 KT Lantry
02/08/10 JK Ludwig
02/08/10 DJ Lutes
02/09/10 JY Borrelli
02/09/10 L Femandez
02/09/10 § Higashi
02/09/10 S Higashi
02/09/10 JK Ludwig
02/09/10 DJ Lutes
02/10/10 L Femandez

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TIME DETAIL

Narrative
Preparation of 12th monthly fee application
Preparation of 12th monthly fee application

Review and edit fee application (1.0); discuss changes to same
with D. Lutes (0.2)

Email to K. Lantry re: review of 12th monthly fee application
(0.1); emails with J. Jensen and D. Lutes re: preparation of 12th
monthly fee application (0.3)

Preparation of 12th monthly fee application

Preparation of 12th monthly fee application (2.20); conference
with K, Lantry re: review and preparation of fee application
materials (.90); TCs and emails with J. Jenscn and J. Ludwig re
same (.50)

Telephone calls and e-mails with D, Deutsch re: fee examiner
issues

Preparation of 12th monthly fee application
Preparation of 12th monthly fee application

Preparation of 12th monthly fee application (1.1) preparation of
13th monthly fee application (.50)

Discuss fee application issues with J. Ludwig

Conference with K. Kansa re: status of cxaminer reports (0.1);
email to J. Bendernagel and J. Ducayet re: status of 12th
monthly fee application review (0.1); review and revise 13th
monthly fee application (2.0)

Preparation of 12th monthly fee application (.30); preparation
of 13th monthly fee application (.30)

Preparation of 12th monthly fee application

Preparation of 12th monthly fee application (0.4); Preparation
of 13th monthly fee application (0.6)

Preparation of 12th monthly fee application
Preparation of 13th monthly fee application
Review and revise 13th monthly fee application (4.7)

Preparation of 12th monthly fec application (1.20); preparation
of 13th monthly fec application (1.20)

Preparation of 13th monthly fee application

Hours
90
1.00
1.20

40

5.30
3.60

30

70
50
1.60

20
2.20

.60

2.10
1.00

4.30
2.40
4.70
2.40

2.00
Case 08-13141-BLS
SIDLEY AUSTIN Lip

Invoice Number: 30014646
Tribune Company

RE: Fee Applications

Date Name
02/10/10 S Higashi
02/10/10 DJ Lutes
02/11/10 DJ Lutes
02/12/10 L Fernandez
02/12/10 JK Ludwig
02/12/10 DJ Lutes
02/15/10 DJ Lutes
02/16/10 KT Lantry
02/16/10 JK Ludwig
02/16/10 DJ Lutes
02/16/10 KA Nelms
02/17/10 JK Ludwig
02/17/10 DJ Lutes
02/18/10 DJ Lutes
02/19/10 S Higashi
02/19/10 JK Ludwig
02/19/10 DJ Lutes
02/22/10 L Femandez
02/22/10 S Higashi
02/22/10 DJ Lutes
02/23/10 L Fernandez
02/23/10 S Higashi
02/23/10 JK Ludwig
02/23/10 DJ Lutes

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Narrative
Preparation of 13th monthly fec application

Preparation of 12th monthly fee application (.90); preparation
of 13th monthly fee application (1.80)

Preparation of 12th monthly fee application
Preparation of 12th monthly fee application

Telephone call with J. Jensen re: 12th and 13th monthly fec
applications (0.4); emails with D. Lutes and J. Jensen re: same
(0.1); emails to V. Garlati re: same (0.1)

Preparation of 12th monthly fee application
Prepare and revise 12th monthly fee application

Telephone calls with J. Ludwig, K. Stickles and D. Deutsch re:
paralegal fees

Telephone call with J. Jensen re: 12th monthly fee application
(0.1); finalize same for filing (0.7)

Preparation of 12th monthly fee application (4.30); emails to J.
Jensen and J. Ludwig re same (.40); perform and review
calculations by timekeepers and matter categories (.90)

Preparation of the quarterly fee application

Emails with UK counsel re: new project billing numbers (0.3);
email to A. Dalton re: LEDES files (0.1)

Preparation of 13th monthly fee application

Preparation of 13th monthly fee application (2.90); emails with
J, Ludwig re timekeeper issues (.30)

Preparation of 13th monthly fee application
Review and revise 13th monthly fee application (1.2)
Preparation of 13th monthly fee application
Preparation of 13th monthly fee application
Preparation of 13th monthly fee application

Preparation of 13th monthly fee application (3.80); review and
analyze fee auditor report (.60)

Preparation of 13th monthly fee application
Preparation of 13th monthly fec application
Review and revise 13th monthly fee application (0.9)
Preparation of 13th monthly fee application

Hours
1.30
2.70

.60
30)
.60

2,20
2.10
40

80

5.60

70
40

80
3,20

2.00
1.20
10
70
1.70
4.40

3.00
4,00

90
5.90
Case 08-13141-BLS
SIDLEY AUSTIN ue

Invoice Number: 30014646
Tribune Company

RE: Fee Applications

Date Name
02/23/10 KA Nelms
02/24/10 L Femandez
02/24/10 JK Ludwig
02/24/10 DJ Lutes
02/25/10 S Higashi
02/25/10 KT Lantry
02/25/10 JK Ludwig
02/25/10 DJ Lutes
02/26/10 L Fermandez
02/26/10 DJ Lutes

Doc 3904-2 Filed 03/31/10 Page 14 of 73

Narrative
Preparation of the 13th monthly fee application
Preparation of 13th monthly fee application

Review and revise 13th monthly fee application (2.4); prepare
response to Fee Examiner preliminary report (2.7)

Preparation of 13th monthly fee application
Preparation of 13th monthly fee application

Review and edit portions of January fee application (0.7);
telephone call re: same with J. Ludwig (0.1)

Email to J. Ducayet re: privilege review of 13th monthly fee
application (0.2); telephone call with K. Lantry re: same (0.1);
revise 13th monthly fee application (0.6)

Preparation of 13th monthly fee application (2.50); review
materials re initial fee auditor report (30)

Preparation of 13th monthly fee application
Preparation of 13th monthly fee application

Total Hours

Hours
6.50
2,50
5.10

4.80
SIDLEY AUSTIN Lp

Case 08-13141-BLS Doc 3904-2 Filed 03/31/10 Page 15 of 73

Invoice Number. 30014646

Tribune Company

RE: Fee Applications

Name Hours
KT Lantry 2.90
JK Ludwig 17.20
DJ Lutes 33.70
KA Nelms 7.20
S Higashi 15.90
JY Borrelli 2.10
L Fernandez 12.10
Total Hours and Fees 111.10

TIME SUMMARY

Rate
$850.00
475.00
285.00
245.00
195.00
110.00
110.00

Amount
$2,465.00
8,170.00
15,304.50
1,764.00
3,100.50
231.00
1,331.00

$32,366.00
Case 08-13141-BLS Doc 3904-2 Filed 03/31/10 Page 16 of 73

SIDLEY

Tribune Company
435 N. Michigan Ave.

Chicago, Illinois 60611

SIOLEY AUSTIN ur

ONE SOUTH DEARBORN
CHICAGO, IL 60603
(312) 853 7000

(312) 853 7036 FAX

March 31, 2010

BEWING
BRUSSELS
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LOS ANGELES

FOUNDED 13866

NEW YORK

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SAN FRANCISCO
SHANGHAI
SINGAPORE
SYONEY

TOKYO
WASHINGTON, DC

FEDERAL. 11) XX-XXXXXXX

PLEASE INDICATE INVOICE
NUMBER ON REMITTANCE
Invoice Number 30014647
Client Matter 90795-30410

For professional services rendered and cxpenses incurred through
February 28, 20100 re Exccutory Contracts and Leases

Fees $7,683.00
Total Due This Bill $7,683.00
Remit Check Payments To: Remit Wire Payments To:

Sidley Austin LLP Sidley Austin LLP

P.O. Box 0642 JP Morgan Chase Bank, NA

Chicago, Illinois 60690

Account Number: 5519624
ABA Number: 071000013
Swift Code. CHASUS33XXX
Case 08-13141-BLS
SIDLEY AUSTIN Lip

Invoice Number: 30014647
Tribune Company

RE; Executory Contracts and Leases

Date Name

02/04/10 KT Lantry
02/08/10 GR MacConaill
02/08/10 GR MacConaill
02/09/10 GR MacConaill
02/10/10 BJ Hauserman
02/10/10 CL Kline
02/11/10 CL Kline
02/12/10 JK Ludwig
02/17/10 KT Lantry
02/17/10 GR MacConaill
02/19/10 KT Lantry
02/19/10 GR MacConaill
02/19/10 GR MacConaill
02/19/10 GR MacConaill
02/19/10 GR MacConaill
02/19/10 KS Mills
02/22/10 KT Lantry

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TIME DETAIL

Narrative
E-mails to J. Shugruc re: assumption of Marsh contracts

Emails with J. Shugrue re: preparation of motion to assume
Marsh contracts

Review motion to assume Marsh contract

Emails with J. Shugrue and counsel to Marsh re: assumption
motion

Email to §. Pater re: HRH

Review TVFN contract amendments from Scripps and MFW
(0.7), analyze case law for ordinary course (2.9), provide
summary and analysis re: ordinary course (1.8); Discuss
analysis w/J. Henderson re: Delaware case law and business
judgment (0.3)

Further discuss ordinary course conclusions w/J. Henderson
(0.2)

Respond to inquiry from J. Boelter re: status of contract
assumption (0.1); telephone call with contract counterparty re:

same (0.1)

E-mails with J. Shugrue and G. MacConaill re: Marsh
settlement and discuss same with J. Shugrue

Emails with J. Shugruc re: Marsh assumption motion

Discuss status of Marsh assumption negotiations with G.
MacConaill

Prepare for telephone conference with Marsh re: assumption
motion

Telephone conference with J. Shugrue and counsel to Marsh re:

assumption motion
Revise Marsh assumption motion

Office conference with K. Lantry re: revised Marsh
assumption motion

Review/analysis of certain prepetition agreements and issues
rclated thereto

Review and edit motion to assume Marsh contracts and discuss
changes to same with G. MacConaill (.8); discuss cover e-mail
summarizing relief and timing of distribution of Motion with
G. MacConaill (.2)

Hours
10
20

30
20

10
5.70

20)

20

20)

50
20

30

AQ

30
30

2.50

1.00
Case 08-13141-BLS Doc 3904-2 Filed 03/31/10 Page 18 of 73
SIDLEY AUSTIN ip

Invoice Number: 30014647
Tribune Company

RE: Executory Contracts and Leases

Date Name Narrative Hours

02/22/10 GR MacConaill Email K. Lantry re: Marsh assumption motion 30

02/22/10 GR MacConaill Office conference with K. Lantry re: Marsh assumption .20
motion

02/22/10 GR MacConaill Revise Marsh assumption motion 30

02/23/10 KT Lantry E-mail to D. Liebentritt re: assumption of Marsh contracts 20

02/26/10 KT Lantry E-mails and telephone call with D. Deutsch rc: info involving 40

assumption of exccutory contract (.3); e-mails with G.
MacConaill re: filing of motion (.1)

Total Hours 14,10
Case 08-13141-BLS
SIDLEY AUSTIN we

Invoice Number: 30014647
Tribune Company

RE: Executory Contracts and Leases

Name

KT Lantry

GR MacConaill
KS Mills

BJ Hauserman
JK Ludwig

CL Kline

Total Hours and Fees

Doc 3904-2 Filed 03/31/10

TIME SUMMARY

Hours
2.10
3.30
2.50

10
20
5.90
14.10

Page 19 of 73

Rate
$850.00
560.00
560.00
475.00
475.00
425.00

Amount
$1,785.00
1,848.00
1,400.00
47.50
95.00
2,507.50
$7,683.00
Case 08-13141-BLS Doc 3904-2 Filed 03/31/10 Page 20 of 73

SIDLEY AUSTIN ur
ONE SOUTH DEARBORN

SIDLEY AUSTIN LLP
CHICAGO, IL 60603
ID E Y | (312) 853 7000
(312) 853 7036 FAX

March 31, 2010

Tribune Company
435 N. Michigan Ave.
Chicago, Illinois 60611

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HONG KONG
LONDON

LOS ANGELES

FOUNDED 1866

NEW YORK

PALO ALTO

SAN FRANCISCO
SHANGHAI
SINGAPORE
SYDNEY

TOKYO
WASHINGTON, DC

FEDERAL ID XX-XXXXXXX

PLEASE INDICATE INVOICE
NUMBER ON REMITTANCE
Invoice Number 30014648
Client Matter 90795-30430

For professional services rendered and expenses incurred through
February 28, 2010 re Use/Sale/Lease of Asscts

Fees

Total Due This Bill

$7,030.00

$7,030.00

Remit Check Payments To:
Sidley Austin LLP

P.O. Box 0642

Chicago, Illinois 60690

Remit Wire Payments To:
Sidley Austin LLP

JP Morgan Chase Bank, NA
Account Number: 5519624
ABA Number: 071000013
Swift Code: CHASUS33XXX
SIDLEY AUSTIN iP

Case 08-13141-BLS Doc 3904-2 Filed 03/31/10 Page 21 of 73

Invoice Number: 30014648

Tribune Company

RE: Use/Sale/Lease of Assets

Date
02/08/10
02/09/10

02/10/10

02/12/10

02/16/10

02/17/10

02/19/10

02/23/10

02/24/10

02/24/10

02/25/10

02/26/10

02/26/10

Name
KP Kansa
KP Kansa

JE Henderson

AL Triggs

KP Kansa

AL Triggs

AL Triggs

AL Triggs

KP Kansa

AL Triggs
AL Triggs
KP Kansa

AL Triggs

TIME DETAIL

Narrative
Email A. Triggs re: Zetabid

T/c J. Xanders re: Zetabid and bankruptcy court process on
same

Email exchange w/McDermott Will & Emory re: latest draft
partnership amendment (.50); te w/McDermott Will Emory re:
same (,60); review partnership K (.20); review against new
SCNI draft (.10); review C. Kline re: ordinary course analysis
(20)

Revise motion to dispose of Zetabid interest to conform with
revised term sheet

Office conference with A. Triggs re: Zetabid (.2); review
Zetabid motion and provide comments on same to A. Triggs

(5)

Revise motion to dispose of Zetabid interest to conform with
revised term sheet (1.6); phone call with J. Xanders at L.A.
Times re: same (0.3)

Review new agreement for the sale of L.A. Times’ membership
interest in Zetabid

Revise 363 motion per new agreement for the sale of L.A.
Times’ membership interest in Zetabid

Email B. Whittman re: Zctabid transaction and motion to
approve same (.3); email D. Eldersveld re: Zetabid (5); follow
up email to D. Kazan re: same (.2); review Zetabid matenals

(3)

Revise 363 motion per new agreement for the sale of L.A.
Times' membership interest in Zetabid

Revise 363 motion per new agrement for the sale of L.A.
Times' membership interests in Zetabid

Review Zetabid motion (0.5); office conference with A. Tiggs
re: same (0.1)

Revise 363 motion for the sale of L.A. Times’ membership
intercst in Zetabid per comments from K. Kansa

Total Hours

Hours
10
30

1.60

2.00

70

1.90

10

1.50

1.30

70

40

.60

1,20

13.00
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SIDLEY AUSTIN up

Invoice Number: 30014648
Tribune Company

RE: Use/Sale/Lease of Assets

Name

JE Henderson
KP Kansa
AL Triggs

Total Hours and Fees

TIME SUMMARY

Hours
1.60
3.00
8.40

13.00

Rate
$850.00
700.00
425.00

Amount
$1,360.00
2,100.00
3,570.00

$7,030.00
Case 08-13141-BLS Doc 3904-2 Filed 03/31/10 Page 23 of 73

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March 31, 2010

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LONDON WASHINGTON, DC
LOS ANGELES

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FEDERAL 112 XX-XXXXXXX

PLEASL INDICATE INVOICE
NUMBER ON REMITTANCE

Invoice Number 30014649
Client Matter 90795-30440

For professional services rendered and expenses incurred through
February 28, 2010 re DIP Financing/Cash Collateral

Fees $37,260.00
Total Due This Bill $37,260.00
Remit Check Payments To: : Remit Wire Payments To:

Sidley Austin LLP Sidley Austin LLP

P.O. Box 0642 JP Morgan Chase Bank, NA

Chicago, Illinois 60690

Account Number: 5519624
ABA Number: 071000013
Swift Code: CHASUS33 XXX

Duc and Payable Upon Receipt
Case 08-13141-BLS
SIDLEY AUSTIN tp

Invoice Number: 30014649
Tribune Company

RE: DIP Financing/Cash Collateral

Date Name
02/02/10 RJ Lewis
02/05/10 RJ Lewis
02/09/10 RJ Lewis
02/10/10 RJ Lewis
02/11/10 KT Lantry
02/14/10 RJ Lewis
02/16/10 RJ Lewis
02/17/10 KT Lantry
02/17/10 RJ Lewis
02/18/10 RJ Lewis
02/18/10 GB Stem
02/19/10 CL Kline
02/19/10 KT Lantry
02/19/10 RJ Lewis
02/19/10 GB Stern
02/22/10 MM Atkinson

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TIME DETAIL

Narrative

Review securitization documents (0.8); telephone conferences
with Tribune re: letter of credit facility and securitization
facility (0.4)

Review 10-K draft (.20); correspondence re: 2006 and 2007
credit agreements (.10)

Correspondence re: swaps with B. Krakauer (.20); telephone
conference with C. Bigelow re: agent resignations (.30)

Correspondence re: resignation of agent with company (.30),
review bridge loan agreement re: same (.10)

E-mails and telephone call with C. Leeman and B. Lewis re:
LC facility

Review TVFN amendments (1.0); correspondence re: same
with J. Henderson and Morgan Lewis (.20)

Conference call with company re: reccivables and letter of
credit transactions (.50); correspondence re: same with
company and Sidley team (.20); tclephone conference with
company re: letters of credit (.10); telephone conference re:
TVFN with MWE (.30)

E-mails with client re: DIP facility
Correspondence re: TRB re: termination of DIP facility

Telephone conferences with Mayer Brown re: termination of
DIP (.20); correspondence to client re: same (.20)

Office conference B, Lewis re termination of DIP facility (0.2);
telephone conference J. Rodden re background for termination
of DIP facility (0.3); review facility amendment (1.0)

Discuss revised DIP w/B. Krakauer and K. Lantry (0.1);
Discuss L/C and DIP update w/R. Lewis (0.1); Review J.
Rodden update and next steps (0.1)

E-mails with C. Kline, N. Larsen, J. Rodden and B. Lewis re:
extension of term of LC facility

Telephone conferences and correspondence re: termination of
DIP facility with Tribune and G. Stern and Mayer Brown

Office conference B. Lewis re termination provisions for
receivables facility (0.4); review Receivables Loan Agreement
and Amendment (1.1)

Prepare Termination Letter

Hours

1.20

30

50

40

40

1.20

1.10

20
30
40

1.50

30

30

80

1.50

1.00
Case 08-13141-BLS
SIDLEY AUSTIN Lip

Invoice Number: 30014649
Tribune Company

RE: DIP Financing/Cash Collateral

Date Name
02/22/10 CL Kline
02/22/10 B Krakauer
02/22/10 RJ Lewis
02/22/10 GB Stem
02/23/10 CL Kline
02/23/10 RJ Lewis
02/23/10 GB Stern
02/24/10 CL Kline
02/24/10 RJ Lewis
02/24/10 GB Stem

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Narrative

Review DIP documentation and amendment requirements per
R. Lewis for DIP motion revisions (1.8); Discuss DIP issues
w/B. Krakauer (0.1); Review DIP background for motion
update (0.2)

Analyze extension of LC facility
Conference call with TRB re: termination of DIP facility

Review Amendments to TREC facility (1.2); conference call
with Tribune re mechanics for terminating the facility (0.3); e-
mail correspondence with Maycr, Brown re termination
documents (0.5)

Review DIP orders and L/C documentation and provide
analysis to B. Krakauer (3.3); Discuss DIP amendment and
bankruptcy approval questions w/B. Krakauer (0.2) and R.
Lewis (0.1); Conference Mayer Brown on bankruptcy approval
and timeline re: L/C amendment w/D.Duffee (0.1) and A.
Trehan (0.2); Confirm approval disposition w/B. Krakauer
(0.1); Confirm filing timeline w/local counsel (0.1); Review
DIP paydown agreement (0.2); Review DIP documents re:
guaranties and amendment documentation requirements (0.6);
Review New River matter and provide deletion request to R.
Lewis and G. Stern (0.4); Discuss TREC disposition w/B.
Whittman (0.1); advising same to B. Krakauer and R. Lewis
(0.2)

Office conferences and telephone conferences with G. Stern
and C. Kline re: DIP termination and LC extension (50);
correspondence with client re: same (.20)

Draft facility termination letter (0.7); review Payout and
Termination Agreement (0.8); office conference B. Lewis re
comments on Payout and Termination Agreement (0.5); e-mail
correspondence with Mayer, Brown re UCC Terminations (0.5)

Adapt DIP motion and order to current L/C extension request
(0.8); Revise and provide comments to R. Lewis re: L/C
Amendment (0.2); Review prior DIP financing orders and L/C
amendments for DIP motion (0.3); Confirm filing date w/local
counsel (0.1); Provide questions to Mayer Brown re: motion,
order, fee letters and protocols (0.2); Discuss same w/B.
Krakauer (0.1)

Telephone conferences and correspondence re: letter of credit
facility and amendment with Tribune (1.0); revisc amendment
(1.0); review annual report draft (.50)

Review Termination Agreement (2.0); office conference B.
Lewis re Termination Agreement comments (0.2); review
termination notices (0.3); e-mail correspondence with Tribune

Hours

2.10

1.00
70
2.00

5.60

70

2.50

1,70

2.50
SIDLEY AUSTIN itp

Case 08-13141-BLS

Invoice Number: 30014649

Tribune Company

RE: DIP Financing/Cash Collateral

Date

02/25/10

02/25/10

02/25/10

02/25/10

02/26/10

02/26/10

02/26/10
02/26/10

Name

CL Kline

B Krakaucr

RJ Lewis

GB Stem

CL Kline

B Krakauer

B Krakauer
RJ Lewis

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Narrative

team re termination of RPA and Servicing Agreement (0.7);
telephone conference D. Eldersvald regarding comments to
Termination Agreement (0.3)

Review L/C amendment blackline for revisions and RLA
refcrences (0.2); Discuss DIP requirements w/Mayer Brown
(0.3); summarize and confirm approach w/B. Krakauer (0.2)

Reivew extension of LC facility, motion, order and payout
agreement

Telephone conferences with Mayer Brown and C. Kline and
correspondence re: letter of credit facility (.30); revise and
distribute letter of credit amendment (.30)

Telephone conference M. Fontaine re changes to Termination
Agreement (0.6); telephone conference B. Lewis re termination
issues (0.5); e-mail correspondence with bankruptcy attorncys
re termination issues (0.7); e-mail correspondence with Trib
team re Termination Agreement comments (0.4); telephone
conference J. Rodden re reporting post-termination (0.8)

Review Payout and Termination revisions per G. Stern, Mayer
Brown (0.2); Discuss and revise bankruptcy provision in
Termination Agreement w/B. Krakaucr (1.1); Coordinate same
w/Mayer Brown (0.2); Review and discuss further revised
version w/B. Krakauer and Mayer Brown (0.4); Confirm
Barclays acceptance of revision w/same (0.2); Review and
discuss DPW L/C amendment inquiry w/chent and B. Krakauer
(0.2); Discuss coordination of disclosures to committee and
UST prior to filing w/B. Krakauer (0.1); Revise DIP motion
and order for L/C amendment and securitization facility
termination (2.9); Revise seal motion for fcc letter for L/C
amendment (1.2); Provide DIP motion package and supporting
agreements to B. Krakauer in clean/blackline for review
w/comment (0.9)

Review draft agreements and order re: extension of DIP
financing

Negotiate changes to DIP financing order with Barclays

Telephone calls and correspondence with company re:
termination of DIP facility

Hours

70

2.20

60

3.00

7.40

2.00

2.50
20
Case 08-13141-BLS
SIDLEY AUSTIN wp

Invoice Number: 30014649
Tribune Company

RE: DIP Financing/Cash Collateral

Date Name
02/26/10 GB Stern
02/28/10 CL Kline

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Narrative

Review changes to Payout and Termination Agreement (0.8);
telephone conference M. Fontaine regarding same (0.3);
telephone conference B. Krakauer re release of liens issues
(0.3); e-mail correspondence with Tribune team re payout
mechanics (0.5); review lien releases and notices to banks (0.6)

Review and Revise DIP Motion package (1.9), discuss same
w/B. Krakauer (0.1)

Total Hours

Hours

2.50

2,00

56.80
Case 08-13141-BLS
SIDLEY AUSTIN itp

Invoice Number: 30014649
Tribune Company

RE: DIP Financing/Cash Collateral

Name

B Krakauer
KT Lantry
GB Stern

RJ Lewis

CL Kline
MM Atkinson

Total Hours and Fees

Doc 3904-2 Filed 03/31/10 Page 28 of 73

TIME SUMMARY

Hours
7.70
90
16.50
10.90
19.80
1.00
56.80

Rate
$925.00
850.00
825.00
650.00
425.00
260.00

Amount
$7,122.50
765.00
13,612.50
7,085.00
8,415.00
260.00

$37,260.00
Case 08-13141-BLS Doc 3904-2 Filed 03/31/10 Page 29 of 73

SIDLEY!

Tribune Company
435 N. Michigan Ave,
Chicago, Illinois 60611

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ONE SOUTH DEARBORN
CHICAGO, IL 60603
(312) 853 7000

(312) 853 7036 FAX

March 31, 2010

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FEDERAL ID XX-XXXXXXX

PLEASE INDICATE INVOICE
NUMBER ON REMITTANCE
Invoice Number 30014650
Client Matter 90795-30450

For professional services rendered and expenses incurred through

February 28, 2010 re Insurance Issues

Fees

Total Due This Bill

$2,025.00

2,025.00

Remit Check Payments To:

Sidley Austin LLP
P.O. Box 0642
Chicago, Illinois 60690

Remit Wire Payments To ES

Sidley Austin LLP

JP Morgan Chase Bank, NA
Account Number: 5519624
ABA Number: 071000013
Swift Code: CHASUS33XXX

Due and Payable Upon Receipt
Case 08-13141-BLS
SIDLEY AUSTIN LLP

Invoice Number: 30014650
Tribune Company

RE: Insurance Issues

Date Name

02/03/10 KT Lantry
02/11/10 KP Kansa
02/17/10 KT Lantry
02/18/10 KT Lantry
02/23/10 KP Kansa
02/24/10 KP Kansa

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TIME DETAIL

Narrative
E-mails with D. Liebentritt and J. Shugrue re: D&O insurance
Email C. Leeman re: Sharon issue

Telephone calls with D. Eldersveld and J. Shugrue re: letter of
credit and insurance issues (0.3); discuss same with C. Bigelow
(0.2)

E-mails with C. Leeman re: insurance and Ictter of credit issues
Review C. Leeman emails on prepetition claims

Several emails to C. Leeman and D. Bralow re: prepetition
claims and bankruptcy treatment of same (.9); t/c's K. Lantry
re: same (.2)

Total Hours

Hours
20
20
50

20
50
1.10

2.70

Case 08-13141-BLS Doc 3904-2 Filed 03/31/10 Page 31 of 73
SIDLEY AUSTIN tp

Invoice Number: 30014650
Tribune Company

RE: Insurance Issues

TIME SUMMARY

Name Hours Rate
KT Lantry 90 $850.00
KP Kansa 1.80 700.00

Total Hours and Fees 2.70

Amount
$765.00
1,260.00
$2,025.00
Case 08-13141-BLS Doc 3904-2 Filed 03/31/10 Page 32 of 73

SIDLEY

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435 N. Michigan Ave.
Chicago, Illinois 60611

SIDLEY AUSTIN we

ONE SOUTH DEARBORN
CHICAGO, IL 60603
(312) 863 7000

(312) 853 7036 FAX

March 31, 2010

BENING NEW YORK
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FRANKFURT SINGAPORE
GENEVA SYDNEY

HONG KONG TOKYO

LONDON WASHINGTON, DC

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FEDERAL, 11) XX-XXXXXXX

PLEASE INDICATE INVOICE
NUMBER ON REMITTANCE

Invoice Number 30014651
Client Matter 90795-30460

For professional services rendered and expenses incurred through
February 28, 2010 re Committee-Related Matters

Fees $2,950.00
Total Due This Bill 95
Remit Check Payments To: Remit Wire Payments To:

Sidley Austin LLP Sidley Austin LLP

P.O. Box 0642 JP Morgan Chasc Bank, NA

Chicago, Illinois 60690

Account Number: 5519624
ABA Number: 071000013
Swift Code: CHASUS33XXX
Case 08-13141-BLS
SIDLEY AUSTIN LLP

Invoice Number: 30014651
Tribune Company

RE: Committee-Related Matters

Date Name
02/02/10 JK Ludwig
02/04/10 JK Ludwig
02/05/10 B Krakauer
02/08/10 KT Lantry
02/10/10 B Krakauer
02/10/10 KT Lantry
02/14/10 B Krakauer
02/15/10 B Krakauer
02/17/10 KP Kansa

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TIME DETAIL

Narrative

Emails with H. Lamb, V. Garlati, §. Advani, 8. Heyman and R.

Silverman re: tax treatment of Committee members’ expenses
(0.4)

Emails with R. Silverman re: tax treatment of Committee
expenses (0.3); email to H. Lamb re: same (0.1)

Call with H. Scife Re: standing motion and plan issues

Telephone call and e-mails with B. Whittman and D. Deutsch
re: Committee's request for information re: prior employee
claims

Call with Chadbourne, re: case issues and pending motions

Participate in weckly conference call with Committee's counsel
re: pending matters in case

Call with H. Siefe, re: case issucs and pending motions
Call with H. Seife, re: pending motions and other case issues

Participate in conference call with Chadbourne on pending
items

Total Hours

Hours

40

40

AQ

40

30

50

40
50
20

3.70
Case 08-13141-BLS Doc 3904-2 Filed 03/31/10 Page 34 of 73

SIDLEY AUSTIN itp

Invoice Number: 30014651
Tribune Company

RE: Committee-Related Matters

Name

B Krakauer
KT Lantry
KP Kansa
JK Ludwig

Total Hours and Fees

TIME SUMMARY

Hours
1.80
90

.20
80

3.70

Rate
$925.00
850.00
700.00
475.00

Amount
$1,665.00
765.00
140.00
380.00

$2,950.00
SIDLEY AUSTIN ue

ONE SOUTH DEARBORN
CHICAGO, IL 60603
(312) 883 7000

(312) 853 7036 FAX

March 31, 2010

Case 08-13141-BLS Doc 3904-2 Filed 03/31/10 Page 35 of 73

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GENEVA SYDNEY

HONG KONG TOKYO

LONDON WASHINGTON, DC
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FEDERAL If) XX-XXXXXXX

Tribune Company
435 N. Michigan Ave.
Chicago, Illinois 60611

PLEASE INDICATE INVOICE
NUMBER ON REMITTANCE

Invoice Number 30014652
Chent Matter 90795-30470

For professional services rendered and expenses incurred through
February 28, 2010 re Litigated Matters

Fees

Total Due This Bill

» $641,396.00

$64] 396.00

Remit Check Payments To:
Sidley Austin LLP

P.O. Box 0642

Chicago, Illinois 60690

Remit Wire Payments To:
Sidley Austin LLP

JP Morgan Chase Bank, NA
Account Number: 3519624
ABA Number: 071000013
Swift Code: CHASUS33XXKX

Due and Payable Upon Receipt
Case 08-13141-BLS
SIDLEY AUSTIN LiP

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/01/10 NJ Alexiou
02/01/10 NJ Alexiou
02/01/10 NJ Alexiou
02/01/10 NJ Alexiou
02/01/10 NJ Alexiou
02/01/10 SA Armbrust
02/01/10 MA Beltran
02/01/10 JF Bendernagel
02/01/10 DE Bergeron
02/01/10 MM Blouin
02/01/10 SG Contopulos
02/01/10 GT Coulson
02/01/10 JW Ducayet
02/01/10 WM Harp

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TIME DETAIL

Narrative

Review documents and determine status of Morgan Stanley
review

Prepare documents for Morgan Stanley production

Meeting with J. Bendernagel to discuss progress of Morgan
Stanley document review and instruction on legal
memorandum

Review and analyze Morgan Stanley documents

Along with S. Lagana and T. Ross, meet with D. Miles to
discuss financial aspects of Tribune litigation

Review emails from Merrill Lynch for privileged
communications by Tribune attorneys

Prepare documents for review by P Wackerly

Conference call with Bankruptcy team regarding case status
(0.8); revise settlement memos (3.0); office conference with N.
Alexiou regarding Morgan Stanley production (0.4); office
conference with §. Lagana regarding status of review of
documents (0.2); office conference with S. Palmer regarding
analysis (0.2); telephone calls with J. Ducayct re: same (0.2);
conference call with T. Cole, L. Barden, D. Graham and B,
Krakauer regarding Board meeting (1.0); conference call with
Lazard regarding same (1.5); telephone call with B. Krakauer
regarding comittec complaint (0.7); review of draft complaint
(0.5); review of standing motion (0.5)

Researching equitable subordination issucs

Prepare data and images for D. Wilson and J. Janover to assist
with attorney review of documents

CBS: Emails with opposing counse re: Joint Case Management
Statement

Revised motion to enter personal injury settlement agrecment,
finalized motion for filing, and verified filing procedural
requirements and filing completion in Delaware.

Participate in weekly status conference call (.8); prepare for
and attend Nils Larsen deposition (4.5); review standing
motion, complaint (.3)

Review plaintiff's motion to lift stay (0.4); draft response to the
application to lift stay (2.0); review supporting case law (1.0);
edit draft response (0.4)

Hours

50

1.80

40

3.80

80

1.70

1.30
9,00

5.70
1.80

20

6.80

5.60

3.80
Case 08-13141-BLS
SIDLEY AUSTIN wtp

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/01/10 RW Havel
02/01/10 JE Henderson
02/01/10 KP Kansa
02/01/10 CL Kline
02/01/10 SP Kramer
02/01/10 MD Krueger
02/01/10 SP Lagana
02/01/10 KT Lantry
02/01/10 R Laurens
02/01/10 JK Ludwig
02/01/10 KS Mills

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Narrative

Identify and circulate background information on recovery of
installment payments as fraudulent conveyances

Review filings by UCC re: standing motion (.50); further revise
examiner response (.60); email exchanges w/M. Walker and J.
Ducayet re same (.20); review examiner motion (.30)

Email W. Harp re: removal motion

Review referral recommendations on fraudulent conveyance
issues with Sidley partners (0.2); discuss same with J. Steen
(0.2); provide feedback to B. Krakauer (0.1); conduct
preliminary rescarch on arbitration clause (0.4), review
arbitration clausc with S. Rauscher and review contract per
same (0.3); request unredacted UCC Complaint from A.
Goldfarb, discuss same (0.2); provide samc to Sidley team with
comment (0.2) review and markup Examiner motion for M.
Walker (1.6); confirm Examiner motion filing deadline for
Sidley/client (0.1); review and provide comments on standing
motion to M. Walker (0.9); coordinate standing and examiner
filing requirements with local counsel (0.1)

Attend N. Larsen deposition (4.1); prepare production of
responscs to requests to admit (.6)

Research and analyze case law regarding fraudulent
conveyances

Meet with D. Miles regarding information on key financial
materials by third partics (.5); Meet with J. Bendernagel to
discuss case (.5); review analysis of third party documents by
contract attorneys (.5); prepare and scnd to S. Palmer daily
update (.5)

Review and edit motion to approve Faggio settlement (1.0);
numerous telephone calls and e-mails re: same with T. Coulson
(0.4); e-mails with K. Stickles and T. Coulson re: filing Faggio
settlement motion and notice of same (.4); review and edit
motion shortening time for hearing on Faggio motion (0.2);
discuss same with K. Stickles (0.2); e-mails with D. Deutsch
and D. Schiable re: Faggio documents and motion (.2); discuss
review of legal analysis of LBO issues with §. Necly and
forward documents (.4); e-mails with K. Stickles and telephone
call with D. Deutsch re: Gutman order (.3); e-mails with C.
Leeman re: Francisco settlement (.1); review Committee's
motion re: standing to file LBO lawsuit (1.0)

Prepare and process data for production
Email to J. Peltz re: document depository acknowledgment

Email to W. Harp re: Peycke litigation

Hours

50

1.60

10
4.30

4.70

7.90

2.00

4.20

1.40
10
10
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SIDLEY AUSTIN Lp

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/01/10 SS Neely
02/01/10 J Ortiz
02/01/10 SF Palmer
02/01/10 J Peltz
02/01/10 JP Platt
02/01/10 TE Ross
02/01/10 O Savell
02/01/10 T Shim
02/01/10 BS Shull
02/01/10 JM Skakun
02/01/10 AL Triggs
02/01/10 PJ Wackerly
02/01/10 ME Walker
02/01/10 MM Walsh
02/02/10 NJ Alexiou
02/02/10 NJ Alexiou
02/02/10 NJ Alexiou

Narrative
Conference with K. Lantry re project and issues
Prepare document production media

Provide instructions to team regarding contract attorncy
assignments (0.3); follow up with litigation support regarding
document loading and database maintenance issucs (0.2);
review revised overview for Board of Directors (0.6); meeting
with J. Bendcrnage! regarding memorandum analyzing
potential arguments of senior lenders (0.8); correspondence
with team regarding daily review summary (0.3)

Prepare documents for use at deposition (0.8); review and
respond to emails re: document depository (0.6); discuss
document depository with J. Platt (0.5); review documents
produced from depository (0.3); discuss same with S.
Rothmund (0.2); discuss status of document review with P.
Wackerly (0.6); review and respond to emails from P.
Wackerly and J. Platt re: status of document review (0.5)

Review and update document depository index (1.0); Resolve
media issues identified by requesting partics (0.3)

Review newly produced documents in Citigroup database
(1.8); meet with D. Miles to discuss financial analyses (0.9)

Prepare documents for production as requested by P. Wackerly

Review and prepare OCR text for new production data received
(1.1); perform edits to database requested by legal tcam (1.9);
review and prepare Citigroup load files for database review

(1.0)

Research caselaw for motion in limine to exclude evidence
(7.3); Draft motion in limine to exclude evidence (3.0)

Review first and second sets of documents for privilege

Review Merrill Lynch emails for document production for
committee document requests

Privilege review of Merrill documents (7); Prepare and finalize
company documents for production (1.1)

Review motion for standing and motion to extend exclusivity
period

Merill Document Review for privilege
Review and analyze Morgan Stanley documents

Meet with S. Palmer to coordinate tasks for DC Litigation
Support

Review new discovery materials

Hours
20
1.00
2.20

3,50

1.30

2.70

80
4.00

10.30

3,00
2.10

8.10

60

3.50
3.20
10

50
Case 08-13141-BLS Doc 3904-2 Filed 03/31/10 Page 39 of 73

SIDLEY AUSTIN Lp

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/02/10 NJ Alexiou
02/02/10 NJ Alexiou
02/02/10 NJ Alexiou
02/02/10 NJ Alexiou
02/02/10 SA Armbrust
02/02/10 JF Bendernagel
02/02/10 DE Bergeron
02/02/10 MM Blouin
02/02/10 JW Ducayet
02/02/10 WM Harp
02/02/10 JE Henderson

Narrative

Meet with DC Litigation Support to discuss new discovery
materials

Gather information and email S$. Palmer with details of meeting
with DC Litigation Support and other Tribune matters.

Draft task list for DC Litigation Support

Draft email to S. Palmer summarizing status of Tribune
document review, including the work of the contract attorncys

Review emails from Merrill Lynch for privileged
communications by Tribune attorneys

Telephone call with D. Licbentritt regarding Board meeting
(0.3); prepare supplemental Board prescntation material (1.5),
office conference with D. Miles relating to litigation memos
(1.2); office conference with M. Kmeger regarding research on
actual fraud issues (0.3); review of complaint (2.0); telephone
call with J. Ducayet re: same (0.2); telephone call with B.
Krakauer re: same (0.2); telephone call with S. Palmer re: same
(0.2); analysis of potential recoveries (1.3); prepare for meeting
with UCC counsel (1.5); analysis relating to Board presentation
(1.0); review of actual fraud memo (0.3)

Researching equitable subordination issues

Prepare data and images for D. Wilson and J. Janover to assist
with attorney review of documents

Meeting with J. Henderson, M. Walker regarding standing
motion (.8); review 2015 declarations (.4); telephone
conference with D. Eldersveld re: inaccurances in draft
complaint (.4); telephone conference with M. Russano re:
complaint (.4); office conference with B. Shull regarding brief
(.5); review draft complaint (.8); cdit response to committee
standing motion (.5); telephone conference with K. Lantry re:
draft complaint (.4); telephone conference with D. Bradford re:
Neil Litigation (.4); revise preliminary injunction brief (1.0);
telephone conference with J. Boelter re: ERICA issucs (.5);
telephone conference with J. Peltz re: review of additional
productions (.4)

Office conference with K, Mills regarding response to motion
to lift stay

Review examiner response draft and notes (.30); meeting w/J.
Ducayet, C. Kline and M. Walker regarding strategy for samc
(1.0); further revisions to draft response (.80); review email
from B, Krakauer re: document depository re: law debenture
discovery (.30)

Hours

20)

1,00

1.50
90

2.00

10,00

7,60
1.00

6.50

40

2.40
Case 08-13141-BLS
SIDLEY AUSTIN LP

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/02/10 S Hlynski
02/02/10 CL Kline
02/02/10 B Krakauer
02/02/10 MD Krueger
02/02/10 SP Lagana
02/02/10 KT Lantry
02/02/10 JK Ludwig
02/02/10 SS Necly
02/02/10 SF Palmer
02/02/10 J Peltz
02/02/10 JP Platt
02/02/10 TE Ross
02/02/10 T Shim

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Narrative
Prepare and process data for attorney revicw

Review UCC Complaint (1.2); discuss EGI access to
Complaint (0.1); discuss and provide Steering Committce fee
memo and background to B. Shull (0.2)

Review disgorgement analysis

Research and analyze case law regarding fraudulent
conveyance (1.4); mecting with J. Bendernagel re: claims
relating to same (.6)

Complete third party production (2.2); review new relevant
documents (1.0); prepare daily update of document review
(0.8)

E-mails with T. Coulson re: order shortening notice on Faggio
motion (0.2); e-mails with K. Stickles re: hearing and
preparations for consummation of Faggio settlement (0.2),
review motion re: Neil litigation (0.4); telephone call re: same
with J. Ducayet (0.4); e-mails with T. Coulson re: changes to
Gutman order (0.1)

Emails with J, Peltz and C. Kline re: access to documents filed
under seal

Continue to review draft memoranda regarding aspects of LBO
for settlement analysis, including review of related cases

Telephone call with J. Bendernagel regarding UCC Complaint
(0.2); email to J. Bendernagel regarding productions by Merrill
Lynch (0,6); finalize and forward summary of revicw status to
J. Bendernagel and J. Ducayet (0.3); telephone call with T.
Ross and provide instructions regarding review of UCC filing
(0.7)

Review and respond to emails re: document depository (0.5);
discuss document depository with J. Platt (0.2); discuss same
with 8S. Rothmund, J. Platt (0.7); discuss status of document
review with P. Wackerly (0.3); assemble information re:
Designated Representatives to document depository (1.0)

Produce documents from depository to James Johnston at
Hennigan Bennet & Dorman LLP (0.7); Update depository

index (0.3)

Review documents from Citigroup database (0.8); review draft
UCC complaint (1.5); draft summary memorandum of the
documentation supporting the UCC's claims (2.0); revise
summary memorandum per instructions of S. Palmer (1.0)

Confer with legal team regarding productions (0.8); perform
database cdits as requested (1.2); reviewing and preparing ncw

Hours
1.00
1.50

2.10
2.00

4.00

1.30

10

4.40

1.80

2.70

1.00

5,30

3.00
Case 08-13141-BLS
SIDLEY AUSTIN LLP

Invoice Number: 30014652
Tnbune Company

RE: Litigated Matters

Date Name
02/02/10 BS Shull
02/02/10 PJ Wackerly
02/02/10 ME Walker
02/03/10 CE Abbinante
02/03/10 NJ Alexiou
02/03/10 NJ Alexiou
02/03/10 NJ Alexiou
02/03/10 NJ Alexiou
02/03/10 SA Armbrust
02/03/10 KJ Bell
02/03/10 JF Bendernagel
02/03/10 DE Bergeron
02/03/10 KF Blatchford
02/03/10 A Godofsky
02/03/10 JE Henderson
02/03/10 S Hlynski
02/03/10 SH Katz
02/03/10 CL Kline

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Narrative
data for data load (1.0)

Draft motion in limine to exclude evidence (3); Meeting with J.
Ducayect to discuss pre-hearing bricf (.5); Review evidence for
pre-hearing brief (4.1); Review J.P. Morgan documents for
privilege (1.5)

Privilege review of Merrill documents

Meeting with J. Ducayet, J. Henderson and C. Kline regarding
responses to examiner and standing motions (1.0); revise
response to standing motion (5.9)

Review UCC complaint filed against lenders
Revised and send updated task list to DC Litigation Support
Review and analyze Morgan Stanley documents

Along with T. Ross and S. Lagana, meet with contract
attorneys to answer questions about review

Review documents from Morgan Stanley database
Review documents received from Merrill Lynch for privilege
Prepare discovery documents for attorney review

Prepare for meeting with UCC re: status of negotiations (1.9);
attend meeting with client in preparation for meetings with
UCC and others (2.8); attend meeting with UCC re: status of
negotiations (2.5); attend meetings with Bennett group re: same
(3.0); attend meeting with Davis Polk re: same (1.3); analyze
response to Examiner motion (0.8); analyze response to
standing motion (0.7)

Researching equitable subordination issues with respect to
fiduciaries (6.50); Telephone call with K. Lantry regarding
same (.30)

Revicw complaint of unsecured creditors
Prepare and process data for attorney review

Review/revise latest version of cxaminer response and
email/voice mail exchange w/M. Walker re: same (2.3); review
revisions to standing response (.50)

Prepare and process data for production

Review complaint from Unsecured Creditors and related
Tribune disclosures in SEC filings (1.5); call with C. Abbinante
and C. Kline to discuss comments to complaint (0.3)

Discuss factual review of UCC Complaint with R. Lewis (0.4);
summarize same for B. Krakauer and J. Bendernagel (0.5);

Hours

9.10

6,30
6.90

1.50
10
2.30
40

3.30
1.20
3.50
12.10

6.80

1.00
1.30
2.80

1.00
1.80

2.50
Case 08-13141-BLS
SIDLEY AUSTIN Lp

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/03/10 MD Krueger
02/03/10 SP Lagana
02/03/10 KT Lantry
02/03/10 RJ Lewis
02/03/10 K Littlejohn
02/03/10 SS Necly
02/03/10 J Peltz
02/03/10 JP Platt
02/03/10 TE Ross
02/03/10 T Shim
02/03/10 BS Shull
02/03/10 AM Unger
02/03/10 AM Unger

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Narrative

discuss Complaint facts with J. Langdon (0.2); discuss UCC
Complaint factual review with C. Abbinante and S. Katz (0.2);
provide further standing motion comments and edits to M.
Walker (1.1); discuss motion procedure and filing with M.
Walker for standing and examiner objections (0.1)

Research and analyze case law regarding fraudulent
conveyance claims (5.1); Meeting with J. Bendernagel re:
claims (0.6)

Review and analyze third party documents (1.0), meet with
contract attorneys regarding status of review (0.5)

E-mails with D. Bralow re: Gutman order and payment (.2);
discuss research re: LBO issues with 8. Neely and forward
relevant documents (.3); e-mails with B. Krakaucr re:
Committee's complaint (.2)

Review draft complaint filed by committee
Prepare and process data and images for attorney review

Continue review of memoranda re LBO issucs and related
cases (1.9); review creditors’ committee's motion for
authorization to file complaint re LBO (.2)

Discuss status of document review with P. Wackerly (0.2);
review and respond to email from J. Ducayet re: same (0.2);
review and respond to email from J. Ludwig re: document
depository (0.2); discuss same with J. Platt (0.1)

Produce documents from depository to Monica Cafaro at
Brown Rudnick (0.7); Resolve media corruption issues cited by
Monica Cafaro (0.3); Update document depository (0.3)

Discuss Citigroup email with contract attorney via email (0.2);
meet with contract attorneys to address any outstanding
questions (0.7); review contract attorneys daily update and
draft daily update for S. Palmer (0.6)

Preparing document OCR (1.1); update production spreadsheet
and search for documents to be printed for attorney review
(0.9)

Review evidence for pre-hearing brief (4.3); Review Mernill
Lynch documents for privilege (1.2); Draft bricf for cvidentiary
hearing (4)

Crabhouse: Review letter from J. Giaimo re: proof of claim for
attorney's fees (0.1); telephone conference with R. Hirth re:
letter from J. Giaimo (0.1); c-mail to and from D. Bralow re: D.
Giaimo letter (0.1)

Furnell: Telephone conference with J. Fuller re: settlement

Hours

5.70

1.50

10

3.80
1.50
2.10

10

1.30

1,50

2,00

9,50

30)

20)
Case 08-13141-BLS Doc 3904-2 Filed 03/31/10 Page 43 of 73

SIDLEY AUSTIN up

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/03/10 PJ Wackerly
02/03/10 ME Walker
02/04/10 NJ Alexiou
02/04/10 NJ Alexiou
02/04/10 NJ Alexiou
02/04/10 NJ Alexiou
02/04/10 JF Bendernagel
02/04/10 DE Bergeron
02/04/10 JW Ducayet
02/04/10 JE Henderson
02/04/10 CL Kline
02/04/10 MD Krueger
02/04/10 SP Lagana
02/04/10 KT Lantry

Narrative

Privilege review of Merrill documents

Revise response to examiner motion

Review and analyze documents for privilege

Meet with S. Palmer to discuss pending Tribune matters

Along with T. Ross and S. Palmer, meet with new contract
attorneys for oricntation

Review daily work of contract attorneys in the Morgan Stanley
database

Draft memo regarding meeting with UCC (1.2); attend meeting
at Davis Polk regarding status of negotiations (3.5), meeting
with Lazard and D. Liebentritt regarding 12/10 Board meeting
(0.8); conference with S. Mandava and B. Krakauer regarding
disgorgement issues (1.0); analyze possible litigation outcomes
(0.5); review of key documents (0.5); correspondence with S.
Komrower re: status of negotiations (0.3)

Research regarding equitable subordination in LBO context
Finalize preliminary injunction bnef

Review latest draft examiner response and further revisions
(.60); email exchanges w/M. Walker re: examiner, standing
responses (.30); several tes w/M. Walker re: standing response
and examiner response (.50); review/revise standing draft
response (1.20); review additional revisions (0.10);
rcview/respond to Sidley team comments and further revise
(.70); conf w/C. Kline re: logistics/timing on circulation of
drafts for review (.20); review emails from J. Bendcrnagel re:
law debenture motion and re: document production (.30)

Review 2006 v. 2007 credit agreement per R. Lewis in
response to UCC Complaint (0.3); provide summary of same to
B. Krakauer (0.1); review and edit examiner motion for M.
Walker (1.1), revise for comments and scnd to client for review
(0.7); review standing motion with M. Walker (1.5), revise
same and send to client for revicw (0.4)

Research and analyze case law re: claims for fees against
advisors

Review contract attorneys’ update and summary of key third
party documents (1.0); prepare and email summary to S.
Palmer (1.0)

Telephone calls and e-mails with A. Jubelirer re: K. Scott
issues (.2); review and edit objection to Committee's standing
motion, and e-mails re: changes to same (.9); review

Hours
5.70
1.50
4.20

30
1.00

30

7,80

4.70
80
3.90)

4.10

4.00

2.00

2.10
SIDLEY AUSTIN LLP

Case 08-13141-BLS Doc 3904-2 Filed 03/31/10 Page 44 of 73

Invoice Number: 30014652

Tribune Company

RE: Litigated Matters

Date

02/04/10
02/04/10

02/04/10

02/04/10

02/04/10

02/04/10
02/04/10

02/04/10
02/04/10
02/04/10
02/04/10
02/03/10

02/05/10

02/05/10
02/05/10

02/05/10
02/05/10

Name

RJ Lewis
SS Neely

SF Palmer

J Peltz

TE Ross

T Shim
BS Shull

JM Skakun
PJ Wackerly
ME Walker
MM Walsh
NJ Alexiou

NJ Alexiou

NJ Alexiou
NJ Alexiou

SA Armbrust
JF Bendernagel

Narrative Hours

Committee's draft complaint (1.0)
Conference call with Candice Kline regarding draft complaint 50

Continue review of memoranda re LBO issues and related 3.60
cases (2.2); begin draft of email to J. Bendernagel re issues and

comments on memoranda re LBO settlement, including review

of additional cases (1.4)

Meeting with N. Alexiou regarding outstanding research and 2.00
litigation support management issues (0.5); follow up with

team members regarding status of revicw and analysis of

documents (0.8); review legal arguments regarding collapsing

transactions in Wilmington Trust's examiner motion (0.7)

Discuss status of document review with P. Wackerly (0.2); 80
review and respond to email from J. Ducayet re: same (0.1);

revicw and respond to email from producing party re:

document depository (0.4); discuss same with J. Platt (0.1)

Review initial credit package provided to Tribune bidders in 6.90
October 2006 and forward to J. Bendernagel with comments

(0.6); meet with new contract attorneys re: status of document

review (1.1); continue reviewing Citigroup database (5.2)

Process OCR text for Merrill Lynch production 50
Review evidence for pre-hearing brief (4.1); Draft brief for 9.10
evidentiary hearing (5)

Review second set of Merrill Lynch documents for privilege 2.50
Privilege revicw of Merrill documents 5.50
Revise response to standing motion 90
Merrill Document review 3.00
Weekly Tribune meeting with S. Lagana, T. Ross, and S. 1.00

Palmer re: status of document review

Create a chronological listing of all confidential documents 460
with descriptions

Review UCC complaint 90
Review daily summary from contract attorneys and provide 30
summary for S. Palmer

Review documents from Mermill Lynch for privilege 1.00
Telephone call with J. Boelter regarding status of negotiations 9.50

(0.3); telophone call with K. Lantry re: same (0.2); revicw of
intercompany claims (0.3); conference call with client
regarding same (2.0); review of 546(c) material (2.3); review of
ESOP/S Corp tax memo (1.0); correspondence with D. Miles
Case 08-13141-BLS
SIDLEY AUSTIN LLP

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/05/10 DE Bergeron
02/05/10 JW Ducayet
02/05/10 JE Henderson
02/05/10 MD Krueger
02/05/10 SP Lagana
02/05/10 KT Lantry
02/05/10 SS Neely
02/05/10 SF Palmer
02/05/10 J Peltz
02/05/10 JP Platt
02/05/10 TE Ross

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Narrative

regarding work tasks (0.5); review of M. Krucger memo
regarding professional fees (0.5); revicw of S. Neely memo
(0.5); review of response to standing motion (0.6); review of
response to Examiner motion (0.6); telephone call with J.
Boelter re: same (0.5); review of PWC material (0.2)

Researching equitable subordination standards and
summarizing case law

Attend M. Kulnis deposition (3.5); draft summary of Kulnis
deposition (.3),; meeting with Davis Polk attorneys to discuss
factual stipulations (.5); telephone conference with D.
Eldersveld regarding document retention issues (.3)

Review latest draft standing and examiner responses (.40);
review clicnt comments to same and email exchange w/C.
Kline and M. Walker re: same (.50); review emails re: law
debenture depos/discovery (20)

Analyze case law regarding fraudulent conveyance claims for
fees

Meet with T. Ross, N. Alexiou and S. Palmer regarding status
of document review (1.0); review and analyze third party
documents (3.0)

Discuss research on LBO issucs and Committee's draft
complaint with S$. Neely

Continue preparing email to J. Bendernagel re issues and
comments on memos (including review of additional cases and
materials) (3.6); begin review of draft creditors’ committee
complaint (1.0)

Conduct associate team meeting regarding status of document
review (1.0); review research and draft brief memorandum
regarding senior Icnder arguments on collapsing transactions
(4.5); correspond with team regarding progress of review and
analysis of senior lender materials (0.6)

Participate in document review tool training (1.0); transmit
revised document depository index (0.1)

Produce documents to Monica Cafaro (0.5); Update document
depository index in preparation for distribution to all partics
(0.5); Update correspondence files in litigation support portal
(0.5)

Attend weekly Tribune team meeting to discuss progress in
Citibank database (1.5); meet with contract attorneys and

answer any outstanding questions (0.6); perform quality control

on contract attorneys (0.4)

Hours

5.80

4.60

1,10

4.70

4.00

20

4,60

6.10

1.10

1.50

2,50
Case 08-13141-BLS
SIDLEY AUSTIN up

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/05/10 O Savell
02/05/10 BS Shull
02/05/10 JM Skakun
02/05/10 AL Triggs
02/05/10 PJ Wackerly
02/06/10 JF Bendernagel
02/06/10 JW Ducayet
02/06/10 JE Henderson
02/06/10 MD Krueger
02/06/10 BS Shull
02/06/10 JM Skakun
02/07/10 JF Bendernagel
02/07/10 JW Ducayet
02/07/10 JE Henderson
02/07/10 CL Kline
02/07/10 MD Krueger
02/07/10 KT Lantry

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Narrative
Preparc document production to committee

Research caselaw for evidentiary hearing brief (3.2); Draft
brief for cvidentiary hearing (5.1)

Review additional Merrill Lynch documents for privilege

Document production for committee document requests
(Merrill Lynch emails) (2.1); meeting with J. Peltz, I. Ross, et
al. re: Relativity training (.4)

Privilege revicw of Merl documents (2.6); meet with
Litigation Support regarding privilege review of Citi
documents (1.0)

Review of Tousa decision and related briefs (0.7); review of
various transaction related documents (2.0); review of various
legal analyses and cases (2.0); review Board presentation (2.0);
telephone call with B. Krakauer regarding same (0.5),
telephone call with D. Miles regarding work assignments (1.2)

Review comments on Neil preliminary injunction brief (.5);
emails to J. Henderson regarding Kulnis deposition (.2)

Tc w/DPW re: pending motions (.40); initial revicw JPM depo
transcript (.20); review emails re: litigation (.20); review J.
Ducayet email (.10)

Teleconference with D. Miles re: projections related to capital
(4); analyze case law re: same (3.7)

Research caselaw for evidentiary hearing bnef
Review additional Merrill Lynch documents for privilege

Telephone call with S. Mandava and B. Krakauer regarding
Board meeting (2.3); review and revise Board presentation
(6.0); revicw of case law relevant to Board presentation (1.0)

Draft insert for disclosure statement (.2); review and revise
stipulation for Law Debenture motion (1.0)

Review 12/01 transcript re: Law Debenture and exclusivity
hearings (0.6); cmail Delaware counsel re: procedures/witness
designation (0.1); cmail exchange w/B. Krakauer re: hearings
(0.2); email C. Kline and M. Walker rc: motions and
documents (0.2)

Review J. Henderson revisions on Examiner motion, comment

Analyze case law rc: projections related to capital (4.8); draft
memorandum re: the same (1.6)

E-mails with D. Liebentritt and J. Ducayet re: proceedings
involving department of labor

Hours
1.50
8.30

2.50
2.50

3.60

8.40

70

90

20
6.40

10
Case 08-13141-BLS
SIDLEY AUSTIN uP

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/07/10 TE Ross
02/07/10 AE Ross
02/08/10 SA Armbrust
02/08/10 JF Bendemagel
02/08/10 DE Bergeron
02/08/10 GT Coulson
02/08/10 JW Ducayet
02/08/10 C Fonstcin
02/08/10 JE Henderson
02/08/10 CL Kline

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Narrative

Review daily summary of contract attorneys regarding
documents reviewed

Monitor Lyondell docket and summarize updates on LBO
settlement, disclosure statement and plan approval (1.9);
review objections to proposed LBO settlement (0.6)

Review Merrill Lynch documents for privilege

Revise Board presentation (1.2); telephone call with D. Miles
re: same (0.4); telephone calls with B. Krakauer re: same (1.0),
conference call with Bankruptcy team re: case status (0.7);
telephone call with J, Ducayct re: same (0.3); telephone call
with L. Barden re: same (0.5); conference call with B.
Whittman regarding intercompany claims (1.0); telephone call
with §. Komrower re: same (1.0); review of case law relevant
to Board presentation (1.0); conference call with S. Mandava
regarding litigation analysis (0.5); review of Lyondell material
(0.5); review of Plan (0.5); conference call with D. Liebentritt
regarding Board meeting (0.6)

Researching equitable subordination standards for non-
fiduciaries and charting case law

Reviewed Gutman settlement ordcr in response to request
regarding the company's ability or lack of ability to pay pre-
petition litigation fees

Participate in weekly conference call regarding case status (1.);
emails with J. Henderson regarding Law Debenture motion
(3); telephone conference with H. Amsden (.2); telephone
conference with J. Bendernagel regarding response to examiner
motion (.3); review document retention materials and send to
D. Eldersveld (.5)

Schultz conference with E. Hoffman regarding waiver of
appcal deadline

Several confs w/C. Kline re: examiner and standing motion
responses (.70); tes w/C. Kline re: same (.30); conf w/J. Conlan
re: standing motion responses (.30); review client revisions and
review/further revise pleadings (2.0); tes w/J. Ducayct and L.
Barden re: Board meeting (.60); te w/J. Conlan (30); tc
w/Delaware counsel re: hearing/responses (.50); review further
Sidley revisions to draft pleadings (.30)

Revise standing and examiner objections for Sidley comments
(3.4); Discuss revisions w/J. Henderson (0.4) and J. Ducayet
(0.1); Discuss comments w/D. Liebentritt (0.1); Review
Tribune revisions w/J. Henderson and J. Ducayet (0.3); Prepare
and send to client same for further review w/comment (0.6);
Analyze document depository no. of documents for cxaminer

Hours

10

2.50

2,50
9.20

6.00

40

2.30

10

5,00

5.30
Case 08-13141-BLS Doc 3904-2 Filed 03/31/10 Page 48 of 73

SIDLEY AUSTIN Lp

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/08/10 MD Krueger
02/08/10 SP Lagana
02/08/10 KT Lantry
02/08/10 JK Ludwig
02/08/10 SS Necly
02/08/10 LJ Nyhan
02/08/10 SF Palmer
02/08/10 J Peltz
02/08/10 TE Ross
02/08/10 AE Ross
02/08/10 BS Shull
02/08/10 AL Triggs
02/08/10 PJ Wackerly
02/09/10 SA Armbrust
02/09/10 JF Bendermagel

Narrative
motion (0.4)

Analyze case law re: financial projections
Review and analyze third party documents

Discuss research involving fraudulent transfer issues with S.
Neely

Emails with J, Peltz re: additional depository designee (0.1);
draft consultation notice to initial negotiating partics re: same
(0.2); telephone call with J. Ducayct re: same (0.1); telephone
call with R. Mariella re: mechanics of Gutman settlement (0.1);
review and analyze same (0.4)

Finish review of creditors' committec's draft complaint (.7);
review cases and other materials re equitable disallowance and
draft portion of cmail re same (2.4); continuc review of LBO
settlement analyses rc subsidiary guarantees and related
materials and draft portion of email re same (1.3); brief
conference with K. Lantry re project (.1); finalize and send
email to J. Bendernagel (.1)

Conference with J, Henderson regarding standing motion
issues

Correspondence with associate team regarding status of review
and analysis of senior lender issues (0.6); review summary
email and provide synopsis and documents for review by J.
Bendernagel and J. Ducayet (0.5)

Review litigation holds (0.5); discuss same with J. Ducayet
(0.2); review and respond to email re: adding party to
document depository (0.4); review and respond to email from
designee re: productions from document depository (0.4)

Review daily summary of contract attorneys and discuss next
steps with 8. Lagana

Revicw scal motion and order regarding committee objection
to Lyondell's proposed LBO settlement

Research casclaw for evidentiary hearing brief (3.4); Draft
evidentiary hearing brief (5.1); Research requirements for
board of directors vote (2.2)

Document production for committee document requests (Citi
emails)

Privilege review of Merrill documents
Review Merrill Lynch documents for privilege

Prepare for Board presentation (6.0); review of Lazard
production (0.5); telephone call with Lazard regarding same

Hours

3.60
4.80
20

90

4.60

30

1.10

1,50

20

40

10.70

.90

1.40
2.30
8.00
SIDLEY AUSTIN iP

Case 08-13141-BLS Doc 3904-2 Filed 03/31/10 Page 49 of 73

Invoice Number; 30014652

Tribune Company

RE: Litigated Matters

Date

02/09/10

02/09/10

02/09/10
02/09/10

02/09/10

02/09/10

02/09/10

02/09/10

02/09/10

02/09/10

02/09/10

02/09/10
02/09/10

02/09/10

Name

JW Ducayet

KP Kansa

GM King
CL Kline

SP Kramer

KT Lantry

JK Ludwig

J Peltz

JP Platt

AE Ross

TE Ross

T Shim
BS Shull

J Tebbe

Narrative

(1.0); office conference with B. Krakauer regarding Board
presentation (0.5)

Review and revise responses to standing motion and cxaminer
motions (1.5); telephone conference with J. Henderson
regarding same (.3); telephone conference with B. Merten
regarding same (.2); conference call with D. Polk to discuss
responscs to various motions (.5); telephone conference with
M. Russano regarding Law Debenture motion (.2)

T/c C. Kline re: removal motion paragraph (.1); review and
revise removal motion (.3); t/c J. Xanders re: preference claim

(1)
Research re: Cash Management Systems

Review litigation document production and depository for
examiner motion revisions (0.2); Revise standing and examiner
objections per Sidley and client comments (3.4); Review same
w/J. Henderson and J. Ducayet (0.2)

Attend Centerbridge deposition via telephone (1.4); correspond
with J. Ducayet re same (.2)

Conference call with A. Jubelirer and counsel for Karen Scott
re: procedural status of litigation (.4); e-mails with D. Bralow
re: payment of Gutman settlement (.2); review revisions to
response to Committcc's standing motion (.4)

Draft notice to Producing Parties re: additional Depository
Designee (0.2); emails with D. Bradford re: same (0.2)

Review and respond to email from D. Eldersveld re: litigation
hold (0.4)

Produce documents to Monica Rose Cafaro at Brown Rudnick,
Sasha Polonsky at Davis Polk and Jim Bergman at Hennigan
Bennet and Dorman LLP (2.0); Address and resolve issues
with previously produccd media (0.3)

Monitor Lyondell docket for redacted copies of objection to
LBO settlement and response to objections

Review daily summary from contract attorneys and draft
comprchensive summary for S. Palmer regarding documents
reviewed

Prepare new Merrill Lynch production for database revicw

Rescarch casclaw for evidentiary hearing bricf (2.1); Draft
evidentiary hearing brief (5.8); Research requirements for
board of directors vote (1.1)

Prepare database per attorney request

Hours

2.70

50

3.80
3.80

1.60

1.00

40

40

2,30

10

30

6.00
9.00

1.00
Case 08-13141-BLS
SIDLEY AUSTIN LLP

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/09/10 AL Triggs
02/10/10 JF Bendernagel
02/10/10 JW Ducayet
02/10/10 JE Henderson
02/10/10 CL Kline
02/10/10 SP Kramer
02/10/10 KT Lantry
02/10/10 JK Ludwig

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Narrative

Document production for committee document requests (Citi
emails)

Prepare for Board presentation (2.0); meeting with D.
Liebentritt regarding same (2.0); attend and participate in
Board meeting (1.5); conference call with D. Bernstein and B.
Krakauer regarding same (0.5); office conferences with B.
Krakauer regarding same (0.3); office conference with J,
Boelter regarding same (0.2); meeting with Lazard regarding
game (1.2); review of draft stipulation regarding Law
Debenture (0.8)

Review ESOP issues and review memo (1.); review revisions
to stipulated facts in connection with Law Debenture motion
and emails to M. Russano regarding same (.9); revicw Aurelis
motion and emails with B. Krakauer regarding same (.5);
telephone conference with J. Henderson regarding Aurelis
motion (.4); conference call with Davis Polk regarding Law
Debenture hearing (.5)

Review emails re: Law Debenture hearing status (.10); several
tcs w/J. Ducayet rc: Law Debenture motion/hearing, rc:
Aurclius filing, re: standing and exclusivity motions (.80);
review Aurclius filings and draft response (1.3); te w/B.
Krakauer/J. Ducayet re: same (.30); review latest draft
stipulated facts and review (.40); review final edit to
examiner/standing drafts (.50); numerous email exchanges
regarding pending motions, pleadings (.40); review revisions to
Aurelius response draft and email exchange w/J. Ducayet re:
same (30); conf w/B. Krakauer re: same (.10); te w/DPW/J.
Ducayet re: response (.40); email exchange w/Delaware
counsel re: filing of same (.10); tc w/K. Lantry re: same (.20);
tc w/UCC counsel re; same (.10)

Coordinate exhibits and objections w/M. Walker (0.1); Discuss
UCC complaint and standing objection w/J. Henderson (0.2);
Further review standing and examiner motions for client
comments (0.7); discuss revisions and finalization w/J.
Henderson (0.1)

Mcct with J. Ducayet re stipulated facts (.5); review stipulated
facts (3)

E-mails with K. Mills re: Conigliaro negotiations (.3); review
Aurelius’ objection to Committce's motion to file under seal
and seeking relief on shortened time (.4); e-mails with J.
Henderson, J. Ducayet, K. Mills and J. Bendernagel re:
response to Aurelius (5); e-mails re: negotiations with Morgan
Stanley (.2)

Review and analyze Aurelius objection and motion to expedite

Hours
7,30

8.50

3.30

5.00

80

1.40

1.60
SIDLEY AUSTIN LLP

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Invoice Number: 30014652

Tribune Company

RE: Litigated Matters

Date

02/10/10

02/10/10
02/10/10
02/10/10

02/10/10

02/10/10

02/10/10

02/10/10
02/10/10

02/10/10
02/11/10
02/11/10

02/11/10

02/11/10

Name

KS Mills

LJ Nyhan
J Peltz
JP Platt

AE Ross

TE Ross

T Shim

BS Shull
AL Triggs

ME Walker
SA Armbrust
JF Bendernagel

JW Ducayct

JE Henderson

Narrative
(1.2); email to J. Henderson re: response to same (0.4)

Various email exchanges and t/calls re: resolution of
Conigliaro matter

Conference with J. Henderson regarding plan settlement issues
Review and respond to email re: document depository

Produce documents to Monica Rose Cafaro at Brown Rudnick
(0.6); Update document depository index with new productions
received from Chadbourne (0.4); Address and resolve issues
with previously produced media (0.3)

Review pleadings filed in Lyondell case in conncction with
LBO Settlement

Discuss progress of contract attorneys with S. Palmer and S$.
Lagana

Process and prepare 3 scts of Merrill Lynch production data
and images for attorney review

Review Merrill Lynch documents for privilege

Document production for committee document requests (Citi
emails)

Review exhibits to cxaminer brief
Review Merrill Lynch documents for privilege

Telephone call with J. Ducayet regarding Law Debenture
motion and other matters (0.4); office conference with B.
Krakauer regarding analysis of litigation outcomes (0.8); office
conference with K. Mills regarding Disclosure Statement (0.3);
office conference with J. Boelter regarding Plan and Disclosure
Statement (0.4); review of Plan and Disclosure Statement (0.5);
conference call with D. Licbentritt and B. Krakauer regarding
next steps (0.5); telephone call with D. Miles regarding next
steps (0.3); emails to F. Alexander and C. Mulhaney regarding
same (0.3); review of filings regarding cxclusivity and standing
(1.0)

Review response to Aurelius motion (.4); telephone conference
with J. Henderson regarding same (.2); review ESOP issues
(1.2); telephone conference with D. Bradford regarding same

(.3)

Revise Aurelius regarding same response per client/Sidley
comments (.50); email exchange w/J. Conlan, w/B. Krakauer
re: Aurelius motion (.40); te w/J. Ducayet re: Aurelius
response, Law Debenture motion/exclusivity hearing (.40);
revicw pleadings/revise/prep exhibits for filing (1.1); tc

Hours

60

30
30
1.30

60

10

4.00

6.70
5.40

30
2,50
4.50

2.10

4.50
SIDLEY AUSTIN uP

Case 08-13141-BLS Doc 3904-2 Filed 03/31/10 Page 52 of 73

Invoice Number: 30014652

Tnbune Company

RE: Litigated Matters

Date

02/11/10

02/11/10

02/11/10

02/11/10

02/11/10
02/11/10

02/11/10

02/11/10

02/11/10

02/11/10
02/11/10
02/11/10
02/11/10
02/11/10
02/12/10

Name

CL Kline

CL Kline

SP Kramer

KT Lantry

JK Ludwig
KS Mills

LJ Nyhan
J Peltz

JP Platt
TE Ross
BS Shull
JM Skakun

PJ Wackerly
ME Walker

JF Bendernagel

Narrative

w/Delaware counsel re: filings (.40); several tes w/M. Walker
re: response to WT examiner motion (.50); te/conf w/C. Kline
re: same (.20); review additional pleadings filed (.50);, review
email exchanges re: stipulated facts (.20); review document
depository acknowledgment (.20); review UCC filing (.10)

Coordinate filing of standing and cxaminer objections w/K.
Stickles and J. Henderson (0.3); Revise and validate exhibits
for examiner motion (0.4)

Discuss WTC filings w/K. Lantry (0.1); Coordinate hearing
binder request per J. Conlan (0.1), Sidley team (0.1); Review
docket for additional filings re: exclusivity, standing and
examiner matters and provide to client and Sidley team
w/comments (2.9); Revise standing and examiner motions for
preparation for filing (1.3)

Review disgorgement motion briefing (.3); review and
supplement joint exhibit list (8)

Review pleadings filed by various parties re: examiner,
standing of Committee and exclusivity, and e-mails re: same
with C. Kline and clients (2.1); e-mails re: response to Aurclius
and telephone call re: same with J. Henderson (.4)

Emails with J. Peltz re: Acknowledgment

Various telephone calls and email exchanges re: Comgliaro
matter

Conference with J, Henderson and J. Bendernagel regarding
client, plan and settlement issues

Review and respond to email from producing party re:
inadvertent production (0.1); discuss same with A. Nellos (0.1)

Produce replacement media to Monica Cafaro at Brown
Rudnick and Jim Bergman at Hennigan Bennett and Dorman
LLP

Review documents in Citigroup database for privilege
Review Merrill Lynch documents for privilege

Review additional Merrill Lynch documents for privilege
Privilege review of Merrill documents

Prepare briefs for filing

Correspondence regarding discovery (0.3); telephone call with
J. Ducayet regarding filing of response to standing/examiner
motions (0.2); review of 12/1 exclusivity hearing (1.3); review
of standing/examiner motion papers (1.5); conference call with
Lazard and A&M re: analysis (0.7); office conference with B.

Hours

10

4.50

1.10

2.50

6.90
2.90
1.00
3.10
1.50
5.00
Case 08-13141-BLS Doc 3904-2 Filed 03/31/10 Page 53 of 73

SIDLEY AUSTIN up

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/12/10 JW Ducayet
02/12/10 C Gabriel
02/12/10 ME Glidden
02/12/10 JE Henderson
02/12/10 KP Kansa
02/12/10 CL Kline

Narrative

Krakauer re: stipulated facts (0.3); office conference with J.
Boelter re: plan and disclosure statement (0.2); prepare for 2/18
hearing (0.5)

Multiple telephone conferences with S. Korpus and review and
revise stipulated facts (.8); telephone conference with K.
Stickles regarding stipulated facts (.2); telephone conference
with J. Bendernagel regarding stipulated facts (.1); telephone
conference with J. Henderson regarding stipulated facts (.1);
review pro formas for privilege (.4); telephone confer P. Ryan
regarding ESOP issues (.3); telephone conference with B.
Merten regarding ESOP issues (.2); telephone conference with
B. Krakauer regarding stipulated facts (.2); review Wilmington
Trust intervention motion and telephone conference with J.
Henderson regarding same (.2); telephone conference with D.
Liebentritt, B. Krakauer regarding ESOP issues (.5); telephone
conference with J. Conlan regarding ESOP issues (.3); review
emails from P. Ryan regarding ESOP issues (.2); draft letter
responsc to Wilmington Trust regarding discovery requests
(.6); review ESOP issues (.7)

Reviewed BlueStar discovery service invoices 62637, 62632,
and 62602 to confirm service and deliverables

Prepare and process hard copy documents for attorney review
per the request of T, Ross

Email exchange w/B. Krakauer re: exclusivity extension and
review prior cmails to DPW (.20); tc w/J. Ducayet re:
Wilmington Intervention Motion and re: hearings next week
(30); conf w/B. Krakauer re: same (.20); review various filings
(.70); email exchanges w/client re: response to Aurclius motion
(.10); tes w/Declaware counsel re: filing (.40); te w/client and
review response; finalize and file (.50); review Sidley and
client emails re; law debenture stipulated facts (.30); review
Sidley emails re: hearing issues (.20); tc w/M. Walker/J.
Ducayet re: response to intervention (.20), email w/J. Ludwig
re: research and email exchanges w/M. Walker re: same (.20);
review court orders entered and email exchanges w/litigators
re: filing (.20); review code sections and conf w/J. Ludwig re:
intervention research (.40); review emails/correspondence re:
Examiner motion discovery (.20)

Review draft complaint forwarded by J. Ludwig

Prepare table of contents for all filings on exclusivity, standing
and examincr, updating as filings came in (1.9); Coordinate and
oversee hearing binders w/S. Summerfield (0.7); Read all
filings on exclusivity and examiner (3.7), summarize same for
binders and hearing summary (1.8); Provide filings to client
and Sidley team as filed w/comment (1.6); Provide filings to J.

Hours

4.80

1.50

2.00

4.10

20
10.30
Case 08-13141-BLS
SIDLEY AUSTIN tp

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/12/10 SP Kramer
02/12/10 SP Lagana
02/12/10 KT Lantry
02/12/10 JK Ludwig
02/12/10 LJ Nyhan
02/12/10 SF Palmer
02/12/10 J Peltz
02/12/10 BS Shull
02/12/10 JM Skakun
02/12/10 C Stavropoulos
02/12/10 AM Unger
02/12/10 PJ Wackerly
02/12/10 ME Walker
02/13/10 JF Bendernagel
02/13/10 JW Ducayct
02/13/10 JE Henderson
02/13/10 KP Kansa

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Narrative

Ludwig, M. Walker and J. Ducayct (0.2); Review Brown
Rudnick letter re: evidence and response issucs (0.2); Discuss
WTC unredacted version and Judge's notebook w/Brown
Rudnick (0.1) and K, Stickles (0.1)

Correspond with J. Ducayct re disgorgement motion hearing

Review and analyze third party documents (3.0); prepare memo
summarizing key documents (1.5)

Review e-mail and stipulation from H. Flores re: Scot
stipulation and draft outline of issues for A. Jubclirer (.4); e-
mails with C. Leeman re: Francisco settlement (.2); revicw
additional filed pleadings re: examiner, standing and
exclusivity (.9)

Review pleadings of Committee and Wilmington Trust re:
standing and intervention (1.2); research re: same (3.7)

Conference with J. Henderson regarding plan scttlcment issues

Follow up with associate team regarding status of review and
analysis of senior lender issues (0.6); review summary email
regarding status of review (0.5)

Discuss document review with P. Wackerly (0.2); discuss same
with B. Shull (0.1); discuss same with J. Ducayet (0.1); review
and respond to email re: document depository, including
transmit revised document depository index and transmit
emails re: inadvertent productions (0.8)

Review Merrill Lynch documents for privilege

Review additional Merrill Lynch documents for privilege
Prepare and process data for production to committee

Furnell: Telephone conference with J. Fuller re: damages issucs
Privilege review of Merrill documents

Review cross-motion to intervene and begin reviewing research
related to same

Revise Section of Disclosure Statement relating to potential
settlement (3.0); review of Court filings (1.0)

Draft memo regarding ESOP options (1.); telephone
conference with J. Henderson regarding ESOP options (.2)

Email exchanges w/Sidley team re: hearing (.30); review
correspondence w/Wilmington regarding examiner motion
(.20); review additional filings (.20)

Review and revise Neil writeup sent by J. Ducayet and email

Hours

20
4.50

1.350

4.90

30)

1.10

1.20

7,50
2.00
2.00

10
7.80
3.90

4.00

1.20

70

1.50
Case 08-13141-BLS
SIDLEY AUSTIN iP

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/13/10 CL Kline
02/13/10 SP Kramer
02/13/10 JM Skakun
02/14/10 JF Bendernagel
02/14/10 JW Ducayet
02/14/10 PJ Wackerly
02/14/10 MM Walsh
02/15/10 SA Armbrust
02/15/10 JF Bendernagel
02/15/10 SG Contopulos
02/15/10 JW Ducayet
02/15/10 JE Henderson

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Narrative
comments on same to J. Ducayet

Review Centerbridge joinder (0.1), provide to client and Sidley
team w/comment (0.2); Update TOC per same (0.2), update S.
Summerfield accordingly for hearing binders (0.1)

Review N. Larsen deposition transcript
Review additional Merrill Lynch documents for privilege

Analyze exclusivity hearing issues (2.0); analyze Disclosure
Statement (1.0); telephone call with B. Krakauer regarding
same (0.3); review of other motions relating to 2/18 hearing
(0,7); telephone call with D. Miles re: same (0.2); draft of
Liebentritt Q's & A's (1.5)

Revise brief in opposition to Law Debenture motion (1.); draft
response to UCC request regarding witnesses (.5); review Zell
answer in Ncil litigation (.5)

Privilege review of Merrill documents
Document review of Mayer documents for Privilege
Review Merrill Lynch documents for privilege

Conference call with Bankruptcy team regarding status (0.7);
prepare for (0.2) and speak with R. Alexander re: investigation
regarding LBO issucs (0.3); review of Court filings relating to
the 2/18 hearing (1.0); conference with S. Palmer, $. Lagana
and T, Ross regarding discovery (0.7); telephone call with D.
Miles regarding status of legal memo (0.2); telephone call with
J. Ducayet regarding 2/18 hearing (0.2)

CBS Review of emails from opposing counsel and court order
regarding joint casc management statement (0.6), email client
re: same (0.2)

Participate in Sidley team conference call regarding casc status
(1.0); review intervention motion and research same (1.2);

emails with various counsel regarding ESOP issues (.4); review

research regarding conflicts alleged in examiner motion (.8);
telephone conference with Jenner & Block attorneys regarding
ESOP issues (.5); telephone conference with B. Merten
regarding ESOP issucs and draft cmails regarding same (.5);
revise overview of ESOP issues for client (.5); conference call
with J. Henderson, J. Bendernagel re: same (.5); telephone
conference with J. Henderson regarding hearing (.5); telephone
conference with J. Bendernagel re: same (.5); telephone
conference with B. Krakauer regarding hearing issucs (.5),
review revised Plan (.8); review filings (1.3)

Review additional pleadings filed re: pending motions (.50);

Hours

.60

1.30

2.00

5.70

2.00

3.90
4.30
2.40
3.30

80

9.00

2.90
Case 08-13141-BLS
SIDLEY AUSTIN tip

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/15/10 S Hlynski
02/15/10 GM King
02/15/10 CL Kline
02/15/10 B Krakauer
02/15/10 SP Lagana
02/15/10 KT Lantry
02/15/10 JK Ludwig
02/15/10 SS Neely
02/15/10 SF Palmer
02/15/10 J Peltz
02/15/10 JP Platt
02/15/10 AE Ross

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Narrative

email exchanges w/J. Ludwig, M. Walker, B. Krakauer re:
intervention research and review results (.50); review emails
from C. Kline re: responses filed by UCC (.10); tes w/J.
Bendernagel re: exclusivity hearing and review draft Q&A
(.50); te w/Bendernagel, J. Ducayet and B. Krakauer re:
hearing (.60); further tc w/J. Bondernagel re: same (.50);
revicw emails re: Law Debenture status conf (.20)

Prepare and process data for production to committee

Analysis and summarization of case law in preparation for 2/18
hearing

Review and discuss M. Walker standing responses and case
law w/M. Walker, and G. King

Address witness and other preparation for February 18 hearing

Meet with contract attorneys to answer questions (1.0); meet
with S, Palmer and T. Ross to review progress and decide next
steps (.5); meet with J. Bendernagel for update (1.0); asscss
status of review and estimate requirements for completing
revicw (0.3); revicw and analyze third party documents;
prepare updates to binders with relevant documents (4.5)

Telephone call with M. Hankin re: Morgan Stanley settlement
(.4); review sample settlement pleadings and forward same to
M. Hankin (.3); e-mails with K. Stickles re: non-objection
involving Faggio (.2); review Wilmington Trust's discovery
demands (.3); review research re: intervenor (.3)

Research re: response to Wilmington Trust motion to intervene
(5.6); cmails with J, Henderson, J. Ducayet, and M. Walker
summarizing same (0.8)

Review new casc (Sunset Beverage) re valuation

Status mecting with J. Bendernagel, S$. Lagana and T. Ross
(1.3); review and analyze daily review summary and forward
selected comments to J. Bendernagel and J. Ducayet (0.4)

Review and respond to email re: status of document production
(0.2); discuss same with P. Wackerly (0.2); discuss same with
J. Ducayet (0.2); review documents (1.3); review and respond
to email re: document depository (0.5)

Review new material received from Chadboume (0.4); update
document depository index (0.2); Produce documents from
depository to Jessica Sutliff at Kasowitz and Jim Bergman at
Hennigan Bennctt and Dorman LLP (0.4)

Review Committee objection to Lyondell's LBO Settlement
and Lyondcll's response to objections

Hours

1.50
4.10

30

3,50
7,30

1.50

6.40

30
1.70

2,40

1,00

1.50
Case 08-13141-BLS
SIDLEY AUSTIN uP

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/15/10 TE Ross
02/15/10 T Shim
02/15/10 BS Shull
02/15/10 AL Triggs
02/15/10 PJ Wackerly
02/15/10 ME Walker
02/15/10 MM Walsh
02/16/10 JF Bendernagel
02/16/10 JW Ducayet
02/16/10 JE Henderson

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Narrative

Meet with S. Palmer and S. Lagana to discuss document review
progress

Review/prepare Merrill Lynch production sets for
processing/network (1.6); update production spreadsheet for
Icgal team review (0.9)

Review Merrill Lynch documents for privilege

Document production for committec document requests (Citi
emails)

Privilege review of Merrill documents (7.5); review case law
relating to attorney conflicts in bankruptcy proceedings as
alleged in WTC examiner motion and motion to intervene (3.3)

Draft memo to B. Krakauer regarding conflicts research
relating to examiner motion and motion to intervene (4.2);
review research and consider response to motion for
intervention (3.6); review and analyze reply to standing motion
(0.8)

Review of Merrill Documents for privilege

Call with Bankruptcy team regarding case status (0.7);
participate in Board call (0.4); call with D. Liebentritt
regarding same (0.6); telephone call with S$. Mandava
regarding same (0.2); telephone call with J. Boelter regarding
same (0.2); telephone call with J. Conlan regarding same (0.4);
telephone call with S. Mandava regarding 2/18 hearing (0.2),
review of Court filings regarding 2/18 hearing (1.0); telephone
call with J. Ducayct regarding status (0.2); prepare for 2/18
hearing (3.0); telephone call with J. Henderson regarding
Examiner motion (0.5); prepare Kurtz direct examination (1.2)

Revicw and revise response to Law Debenture Motion (3.0);
participate in status conference regarding Law Debenture
motion (.3); emails with P. Ryan regarding ESOP issues (.5);
review revised Plan of Reorganization in connection with
ESOP issues (.5); telephone conference with J. Bendernagel
regarding hearing (.5); telephone conference with B. Krakauer
regarding hearing (.4); review filings (2.0)

Review updated pleadings filed re: examiner/trustee motions
(.60); tc w/Delaware counsel re: same and hearing strategy
(.60); email exchanges w/Sidlcy team re: same (.20); several
confs w/J. Conlan re: hearing/strategy (.70); tc w/K. Lantry re:
same (30); tc w/J. Bendernagel re: same (.40); conf w/J.
Ducayet and attend Law Debenture status conference (.30);
review J. Conlan emails re: hearing (.20); confs w/K. Kansa
and conf w/K. Mills re: same (.40); review emails from M.
Walker re: trustee response on examiner motion (.10)

Hours

1.70

2.50

4.20
1.00

10.80

8.60

2.30
8.60

7.20

3.80
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SIDLEY AUSTIN Lip

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/16/10 S Hlynski
02/16/10 GM King
02/16/10 SP Kramer
02/16/10 EJ Kreis
02/16/10 SP Lagana
02/16/10 KT Lantry
02/16/10 KT Lantry
02/16/10 JK Ludwig
02/16/10 KS Mills
02/16/10 J Peltz
02/16/10 JP Platt
02/16/10 TE Ross
02/16/10 AE Ross
02/16/10 T Shim

Narrative
Prepare and process data for attorney review

Analysis and summarizing case law for exclusivity, standing
and examiner responses in preparation for 2/18 hearing

Review opposition to disgorgement motion bricf
Research Casc Law for D. Miles

Meet with T. Ross and brief new contract attomeys (1.0);
manage procedure for removing privileged documents from
third party database (0.8); meet with K. Myers for brief
summary of status of case (0.2); finalize and provide to J.
Bendernagel updated analysis of third party documents (5.0)

E-mails with C, Leeman and P. Garvey re: Francisco settlement
(.2); e-mails re: entry of Faggio order and next steps (.2)

E-mails with K. Mills re: status of Conigliaro relief from stay

Review UST statement re: examiner motion (0.1); review WT
response to objections to cxaminer motion (0.4); telephone call
with K. Lantry re: same (0.1); review WTC document
depository requests and notices relating to same (0.5); emails
with J. Peltz re: same (0.1)

Multiple emails to K. Lantry re: Conigliaro matter

Review and respond to email re: status of review (0.2); discuss
same with P. Wackerly (0.2); discuss same with §. Palmer
(0.1); discuss same with J. Ducayet (0.1); review Wilmington
Trust Filing (0.3); review and respond to email from J. Ducayet
re: Wilmington Trust filing (0.3); review production timeline
(0.3); review document depository designee list (0.2); discuss
same with J, Ludwig (0.3); distribute same to counsel for
Wilmington Trust (0.1)

Assist Ali Nellos at Chadbourne with resolving issues with
production CDs for document depository (1.8); T/c with Martin
Pugliese at Blue Star re: same (0.7)

Conduct orientation of new contract attorneys (0.9); meet with
contract attorneys and answer questions (0.8); continuc
reviewing documents from Citibank database (2.4); draft daily
progress summary for S. Palmer (0.3)

Research information regarding new LBO settlement proposed
in Lyondell Case

Confer with legal team regarding replacement Merrill Lynch
production data (0.9); edit Citigroup production database for
attorney review (1.6); review and prepare replacement data
(1.1); load replacement data per attorney review (0.9)

Hours
1.30
4,30

80
30
7.00

AQ

20
1.20

30
2.10

2.50

4.40

30

4,50
Case 08-13141-BLS
SIDLEY AUSTIN tp

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/16/10 BS Shull
02/16/10 AL Tniggs
02/16/10 PJ Wackerly
02/16/10 ME Walker
02/16/10 MM Waish
02/17/10 SA Armbrust
02/17/10 JF Bendernagel
02/17/10 JW Ducayet
02/17/10 JE Henderson
02/17/10 JE Henderson
02/17/10 CL Kline
02/17/10 SP Kramer
02/17/10 SP Lagana
02/17/10 Z Lantos
02/17/10 KT Lantry
02/17/10 JK Ludwig
02/17/10 LJ Nyhan
02/17/10 SF Palmer

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Narrative

Review Merrill Lynch documents for privilege (5.2); Draft
evidentiary bricf in response to Law Debenture's motion to
terminate fee payments (2.2)

Document production for committee document requests (Citi
emails)

Privilege review of Merrill documents

Review and comment on various filings
Review of Merrill Documents for privilege
Review Merrill Lynch documents for privilege

Prepare for hearing (4.0); work on draft of Kurtz examination
outline (1.5); meeting with D. Kurtz to prepare (2.5); meeting
with trial team re: 2/18 hearing (1.0)

Prepare for hearing (3.2); meetings with J. Bendernagel, D.
Kurtz, D. Liebentritt re: preparation for 2/18 hearing (3.5);
conference call with Jenner regarding ESOP issues (.3)

Revicw all pleadings re: 2/18 hearing
Email exchange w/Ducayet re: preparation of testimony

Discuss posting unredacted versions of documents filed for
Feb. 18 hearing in document depository w/J. Ludwig

Review opposition to disgorgement motion brief (1); review N.
Larsen deposition transcript (.5)

Meet with contract attorneys regarding revicw of third party
documents (1.0); review and analyze third party documents
(3.0); prepare summary memo of third party documents (3.0)

Meet with S. Palmer regarding assignment (0.4); telephone call
with J. Platt regarding correspondence files related to
productions (0.2); research selected documents in case library
(0.5)

Review Scott complaint (.4); telephone calls and c-mails with
P. Garvey re: Francisco (.2)

Emails with J. Peltz re: filings under seal relating to examiner
and standing motions (0.2); telephone calls with counsel for
Wilmington Trust re: same (0.2); telephone call with K.
Stickles re: same (0.2); review filings (0.4)

Conference with J. Henderson regarding examiner and standing
issucs

Follow up with associate team regarding status of review and
outstanding tasks (0.6); review and edit summary regarding

Hours

740

5.10

5.50
1.00
2.00
1.70
9.00

7.00

1.00
20
20

1.50

7.00

1.10

.60

1.00

.60

1.10
Case 08-13141-BLS
SIDLEY AUSTIN tp

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/17/10 J Peltz
02/17/10 AE Ross
02/17/10 BS Shull
02/17/10 J Tcbbe
02/17/10 AL Triggs
02/17/10 PJ Wackerly
02/18/10 JF Bendernagel
02/18/10 JW Ducayet
02/18/10 JE Henderson
02/18/10 SP Lagana
02/18/10 Z Lantos
02/18/10 JK Ludwig
02/18/10 SF Palmer
02/18/10 J Peltz
02/18/10 TE Ross

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Narrative

status of review and forward to J. Bendernagel and J. Ducayct
(0.5)

Review documents and respond to email re: status of document
production (2.6); review and respond to email re: document
depository (0.5)

Research and summarize revised LBO settlement in Lyondell
case

Review Merrill Lynch documents for privilege
Investigate issues w/databascs

Document production for committee document requests (Citi
emails)

Privilege review of Merrill documents

Prepare for (1.7) and attend exclusivity hearing (3.0);
conference with client regarding next steps (0.5); review
hearing materials (0.5); telephone call with D. Miles re hearing
outcome (0.2); office conference with S. Palmer re same and
status of document review (0.4)

Prepare for and attend hearing (5.0); revise ESOP section of
Plan of Reorganization (.5)

Conf w/J. Ludwig re: Department of Labor investigation (.30);
review email exchanges re: same (.10); listen to hearing (1.5)

Finalize and submit to J. Bendernagel collection of relevant
third party documents; review and analyze third party
documents

Mect with T. Shim regarding production databases (0.4);
research information regarding D. Mills relevant files (0.3)

Emails with J. Ducayet and B. Krakauer re: request for access
to Document Depository (0.6); draft notice re: same (0.3)

Status meeting with J. Bendernagel (0.3); follow up with
associate team regarding status of review (0.5); review
summary regarding status of review and follow up regarding
outstanding questions (0.5)

Draft letter transmitting documents to counsel for EGI (0.4);
review documents for transmittal to counsel for EGI (0.4);
discuss same with counsel for EGI (0.2); review and respond to
email re: same (0.4)

Continue reviewing Citigroup documents (3.8); review update
email from contract attorneys and draft daily progress summary
for S. Palmer (0.3)

Hours

3.10

70

1,30
2.00
3.30

3.60
6.30

5.50

1,90

3,00

70

90

1.30

1.40

4.10
Case 08-13141-BLS
SIDLEY AUSTIN up

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/18/10 T Shim
02/18/10 BS Shull
02/18/10 AL Triggs
02/18/10 MM Walsh
02/19/10 JF Bendernagel
02/19/10 JO Butler
02/19/10 JW Ducayet
02/19/10 JE Henderson
02/19/10 SP Lagana
02/19/10 KT Lantry
02/19/10 JK Ludwig
02/19/10 SF Palmer
02/19/10 J Peltz

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Narrative

Review and prepare supplemental production data (1.1); load
supplemental data to database for review (1.2); confer with
legal assistant regarding Tribune production databases and
spreadsheet and share folder (0.7)

Review Merrill Lynch documents for privilege

Document production for committee document requests (Citi
emails)

Review of Merrill Documents

Telephone call with J. Ducayet regarding response to Law
Debenture motion (0.3); telephone call with J. Conlan
regarding samc (0.4); telephone call with J. Henderson
regarding same (0.5); telephone call with D. Liebentritt
regarding same (0.5); development of litigation strategy (1.0),
telephone call with S. Aganin regarding consultant (0.3)

Research regarding citation to bankruptcy case law and legal
literature

Review and revise opposition to Law Debenture motion (1.7);
telephone conference with J. Bendernagel regarding same (0.3)

Tc w/J. Bendernagel re: exclusivity order (.10); review draft
and email exchanges w/C. Kline re: same (.30); te w/J. Peltz, J.
Peltz/J. Ducayet re: document depository issues (.50); email
exchange w/client re: same (.10)

Review and analyze third party documents (3.8); meet with S.
Palmer and T. Ross to discuss status of case (0.8); prepare
summary memo of third party documents (3.0); draft Ictter to
producing party confirming retrieval and destruction of
privileged documents (0.4)

Telephone call with D. Bralow re: Faggio issues involving
insurers, and e-mails re: same with C. Leeman (.3); telephone
calls and c-mails with A. Jubelirer re: Scott stipulation and
complaint (.2)

Revise notice to negotiating partics re: request for access to
document depository (0.2); email to negotiating parties re:
same (0.1); review responses by negotiating parties re: same
(0.1)

Status meeting with §. Lagana and T. Ross (0.7), conference
with N. Alexiou regarding research project (0.2); conference
with tcam regarding contract attorney assignments (0.3);
review draft letter to Kaye Scholer regarding deletion of
privileged documents (0.2)

Discuss document production with J. Ducayet (0.2); discuss

Hours
3.00

1,50
5.80

AQ
3.00

1.50

2.00

1.00

8.00

30

40

1.40

80
Case 08-13141-BLS
SIDLEY AUSTIN LLP

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/19/10 JP Platt
02/19/10 TE Ross
02/19/10 T Shim
02/19/10 BS Shull
02/19/10 AL Triggs
02/19/10 MM Walsh
02/20/10 JF Bendernagel
02/20/10 JM Skakun
02/20/10 MM Walsh
02/21/10 JF Bendcrnagel
02/21/10 B Krakauer
02/22/10 JF Bendemagel
02/22/10 R Bryan
02/22/10 JW Ducayet

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Narrative

same with J. Henderson (0.3); discuss same with J. Henderson
and J. Ducayct (0.3)

Prepare newly produced documents and send to Sandra Palmer
in DC office (50); Review and update document depository
index in preparation for distribution to all parties (.50).

Meet with contract attorneys to discuss Citigroup database and
answer any outstanding questions (0.7); meet with S. Palmer
and S. Lagana to discuss next steps in Tribune review (0.9),
discuss new assignments with contract attorneys (0.4); continue
revicwing documents from Citigroup database (0.8)

Edit all production databascs per attorney request

Review Merrill Lynch documents for privilege (1.2); Revise
brief in opposition to Law Debenture motion to terminate fee
payments (1.6)

Document production for committee document requests (Citi
emails)

Review of Citi Documents

Review of brief regarding LD motion for disgorgement of fees
(0.7); review of Exide decision (0.7)

Review Merrill Lynch documents for privilege
Review of Citi Documents

Review of Morgan Stanley material (0.5); review of Merrill
Lynch material (0.7); review of Lyondell 9019 motion papers
(2.2)

Review law debenture disgorgement motion documents and
draft brief

Analyze settlement related issues (2.0); telephone calls with B,
Krakauer regarding same (0.5); telephone call with J. Ducayet
regarding response to Law Debenture motion (0.3); telephone
calls with D. Miles regarding same (0.3); analysis relating to
Law Debenture motion (0.5); weekly call with Bankruptcy
group regarding case status (0.5)

Meeting with S. Palmer and Z. Lantos re case files, contract
attorneys, discovery materials

Telephone conference with J. Bendcrnagel regarding response
to Law Debenture motion (.5); conference call with Sidley
team regarding case status (1.0); review J. Bendernagel
comments to Law Debenture brief (.3); telephone conference
with consultant regarding overview of case (.5); review
materials in connection with consultant (.5)

Hours

1,00

2.80

1.00

2.80

3.90

1.80
1.40

1.50

1.00

3.40

2.30

4.10

1.00

2.80

SIDLEY AUSTIN iP

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Invoice Number: 30014652

Tribune Company

RE: Litigated Matters

Date
02/22/10

02/22/10

02/22/10

02/22/10

02/22/10

02/22/10
02/22/10

02/22/10
02/22/10

02/22/10

02/22/10

02/22/10

02/22/10

02/22/10

02/22/10

Name

MC Fischer

JE Henderson

KP Kansa

SP Lagana

Z Lantos

Z Lantos
KT Lantry

KS Mills
SF Palmer

J Peltz

TE Ross

T Shim

BS Shull

AL Triggs

AM Unger

Narrative

Review and respond to emails from K. Lantry and J. Osick re:
Neuman strategy issues

Revicw latest version exclusivity order (0.3); conf w/C. Kline
re; same (0.2); review emails from J. Bendernagel re: litigation
analysis (0.3)

Review and revise motion to extend removal pertod (.5); email
D. Eldersveld and D. Liebentritt re: same (.3)

Meet with Z. Lantos, S. Palmer, R. Bryan, T. Ross regarding
action required on Tribune matter (.5),; mect with Z. Lantos, R.
Bryan and contract attorneys regarding review and analysis of
third party documents (.5); review and analyze third party
documents (3.0)

Attend meeting with Sidley legal team regarding casc status
(0.8); mect with S. Lagana regarding contract attorneys (0.5);
meet with R. Bryan regarding assignments (0.2)

Review documents for privilege and relevance per S$. Lagana

Draft summary of Faggio litigation and settlement and e-mails
re: same with C. Bigelow and D. Bralow (1.1), edit and revise
K. Scott stipulation (1.3); e-mails with A. Jubelirer to schedule
call to discuss stipulation (.1); e-mails with M. Fischer and J.
Osick scheduling call re: Neuman litigation (.2)

Review of emails/documents related to Moreno litigation

Meeting with S. Lagana regarding status (0.2); mecting with S.
Lagana and T. Ross regarding outstanding review and case
management issucs (0.8)

Review draft Ictter to J. Drayton regarding document
depository (0.3); discuss document depository with A. Nellos
(0.2); discuss same with J. Platt (0.1); discuss status of
document review with P. Wackerly (0.2); review and respond
to cmail re: status of document revicw (0.2)

Attend Tribune team meeting with S. Palmer and S. Lagana to
discuss ongoing review of senior lender document productions

Confer with legal team regarding Merrill Lynch replacement
production

Revised brief in opposition to Law Debenture's motion to
terminate

Document production for committee document requests (Citi
emails)

Furnell: Telephone conference with J. Fuller and J. Giaimo re:
damages issues

Hours
10

80

80

4.00

1.50

1.70
2.70

30
1.00

1.00

10

50

20

4.70

20
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SIDLEY AUSTIN ip

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/22/10 PJ Wackerly
02/23/10 KJ Bell
02/23/10 JF Bendernagel
02/23/10 R Bryan
02/23/10 JW Ducayet
02/23/10 MC Fischer
02/23/10 C Gabriel
02/23/10 JE Henderson
02/23/10 SP Lagana
02/23/10 Z Lantos
02/23/10 KT Lantry
02/23/10 KS Mills
02/23/10 SF Palmer

Narrative
Privilege review of Merrill documents
Prepare documents for attorney review

Work on settlement-related issues (3.5); office conference with
D. Miles re: same (0.3); work on discovery-related issucs (1.0);
telephone call with S. Palmer regarding document review (0.3);
telephone call with S. Lagana regarding same (0.3); telephone
calls with J. Ducayet regarding same (0.5); telephone calls with
B. Krakauer regarding settlement (0.5)

Organize case files per S. Palmer

Telephone conference with J, Bendernagel (.4); revicw
materials in connection with B. Black (.6); review and revise
Law Debenture bricf and stipulated facts (1.5)

{Neuman} Prepare for tc w/ J. Osick re: Neuman matter (.4),
attend same (.8); conf. w/ K. Lantry re: bankruptcy issues (.2)

Reviewed BlueStar invoice 62590 to confirm service and
deliverables

Review Law Debenture response brief and J. Bendernagel
revisions (0.5); review/revise brief (0.5); voice mail/email J.
Ducayet re: same (.10); conf w/C. Kline re: exclusivity order
and review emails re: same (.30); email exchange and tc
w/client re: document depository issues (.50); review emails re:
hearing transcript (.10); review order (.10)

Review and analyze third party documents(4.0); prepare
memorandum regarding relevant documents(3.0)

Review selected documents for Chronology per S. Palmer

Arrange for and participate in conference call with J. Osick and
M. Fischer re: Neuman litigation (.5); follow-up calls and e-
mails with J. Osick re: insurance and indemnity issues
involving Goldstone (.8); telephone call with J. Ludwig re:
Neuman claims (.2); conference call with A. Jubelirer re: K.
Scott stipulation and claims, and forward draft stipulation to
Scott's counsel with cover e-mail (.8); telephone calls and c-
mails with D. Eldersveld and C. Leeman re: Francisco and
settlement of pending litigation (.4); e-mails with M. Fischer
and J. Mcer re: scheduling order in Neuman case (.2)

Continued review of issues re: Moreno litigation (.3); and
cmail exchanges re: same (.2)

Telephone call with J. Peltz regarding document production
and review issues (0.4); telephone call with J. Bendernagel
regarding status (0.2)

Hours
1.50
1.00
6.40

50

2.50

1.40

50

2,10

7,00

50
2.90

50

60
Case 08-13141-BLS
SIDLEY AUSTIN LLP

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/23/10 J Peltz
02/23/10 TE Ross
02/23/10 T Shim
02/23/10 BS Shull
02/23/10 AL Triggs
02/23/10 AM Unger
02/23/10 PJ Wackerly
02/23/10 MM Walsh
02/24/10 KJ Bell
02/24/10 JF Bendemagel
02/24/10 JW Ducayct
02/24/10 MC Fischer
02/24/10 C Gabriel

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Narrative

Discuss document review with §. Palmer (0.2); arrange for

document duplication and transmission (0.3); discuss document

depository with J. Platt (0.2); discuss document review with J.
Ducayet (0.2); review and respond to email re: same (0.2);
review documents (0.5); discuss status of review with S.
McPhail (0.1)

Review documents binder in Citigroup database and draft
summary report

Search JPM database for documents to be produced (1.1);
prepare printouts for Icgal team review (0.7); process and
prepare Merrill Lynch data for attorney review (0.7); run

searches in Merrill Lynch per legal team request (0.8)

Revised brief in opposition to Law Debenture's motion to
terminate (2); Review Merrill Lynch documents for pnvilege
(3.5); Meeting with J. Ducayet to discuss motion for
preliminary injunction (5)

Document production for committec document requests

Fumell: Email to D. Bralow re: strategy (.1); telephone
conference with J. Giaimo and J. Fuller re: settlement (.2)

Privilege review of Merrill documents
Review of Citi Documents for privilege
Prepare documents for attorney review

Office conference with D. Miles regarding legal analysis of
claims (2.0); telephone call with J. Ducayet regarding Morgan
Stanley (0.3); telephone call with D. Miles regarding same
(0.2); review of deposition of T. Whaye (1.0); review of
Morgan Stanley material (1.0); review of correspondence
regarding zone of insolvency issue (0.4); review of email
regarding Citigroup documents (0.2); analysis of settlement
and related claims issues (1,0)

Telephone conference with Morgan Stanley counsel (.5);
telephone conference with J. Bendernagel regarding call with
Morgan Stanley (.5); review materials related to Morgan
Stanlcy (.5); review and revise Neil adversary filing (1.0);
review and revise stipulated facts in connection with Law
Debenture motion (.50); review and revise Law Debenture
brief (1.7); telephone conference with M. Russano regarding
Law Debenture (.3)

Review and respond to emails from K. Lantry re: bankruptcy
issues and Neuman lawsuit

Reviewed BlueStar invoices 62651 and 62667 to confirm

Hours

1.70

4.20

3.30

6.00

6.50
30

9.10
5.50
1.00
6.10

5.00

30

1.00
Case 08-13141-BLS
SIDLEY AUSTIN up

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/24/10 JE Henderson
02/24/10 B Krakauer
02/24/10 B Krakauer
02/24/10 SP Kramer
02/24/10 SP Lagana
02/24/10 KT Lantry
02/24/10 TE Ross
02/24/10 T Shim
02/24/10 BS Shull
02/24/10 AL Triggs
02/24/10 AL Triggs
02/24/10 AL Triggs
02/24/10 PJ Wackerly
02/24/10 MM Walsh
02/25/10 NJ Alexiou
02/25/10 NJ Alexiou
02/25/10 NJ Alexiou
02/25/10 NJ Alexiou

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Narrative

service and deliverables

Review exclusivity order and DPW revisions (.3); email
exchanges w/Delaware counsel/Sidley team re: same (.2); tc

w/J. Ducayet re: Law Debenture response (.2); review revised
draft (.5)

Analyze Law Debenture disgorgement brief

Analyze Neil litigation issues

Review disgorgement motion exhibits for confidentiality
Review and analyze third party documents

E-mails and telephone calls with K. Kansa and C. Leeman re:
indemnification of prior employee in litigation (.4); review
revisions to communication to insurer re: Goldstone litigation
and e-mails re: same with J. Osick and M. Fischer (.4); discuss
strategy involving insurer and Goldstone mediation with M.
Fischer (.2); telephone call with J. Ludwig re: Goldstone filing
claim (.2)

Continue reviewing Citigroup documents and drafting
chronology for J. Bendernagel (7.5); meet with S. Lagana to
discuss review of Sidley documents regarding the Tribune
transaction (0.2)

Load new production data and images to Merrill Lynch
database for review

Review Merrill Lynch documents for privilege (2); Research
case law on bankruptcy court valuation of estate assets (2.8)

Research re: identifying potential expert witness
Document production for committee document requests

Research re: background of expert witness; draft email to J.
Ducayet summarizing research

Privilege review of Merrill documents
Review of Citi Documents for privilege

Meet with T. Ross and S. Lagana regarding documents needed
to be retrieved from various databases and coordinate with
contract attorneys regarding the necessary searches

Research issues concerning 1] U.S.C. 546(e) for inclusion in
memorandum

Discuss with litigation support documents which need to be
printed and disseminated.

Meeting with J. Bendernagel, D. Miles, S$. Lagana, S. Palmer,

Hours

1.20

1,30
90
70

7.00

1.20

7,70

1,50

4.80

1.60
1.00
4.30

6.10

2.00

1.00

70

AQ

2.70
Case 08-13141-BLS
SIDLEY AUSTIN ie

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/25/10 NJ Alexiou
02/25/10 NJ Alexiou
02/25/10 SA Armbrust
02/25/10 KJ Bell
02/25/10 JF Bendernagel
02/25/10 GV Demo
02/25/10 JW Ducayet
02/25/10 JE Henderson
02/25/10 S Hlynski
02/25/10 KP Kansa
02/25/10 SP Kramer

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Narrative Hours

and T. Ross regarding current status of litigation and
assignments going forward

Perform quality control on documents reviewed by contract 2.00
attorneys

Analyze Morgan Stanley documents 30
Call with A. Triggs regarding using Relativity to review Citi 30
documents

Prepare documents for attorney revicw 1.00
Telephone call with T. Cole, L. Barden and J. Ducayet 6.50

regarding Morgan Stanley (0.7); telephone call with J. Ducayet
regarding same (0.2); telephone call with $. Lagana regarding
Morgan Stanley documents (0.2); prepare for meeting with
document review team regarding progress (0.3); meeting with
document review team regarding progress regarding discovery
(2.0); review of documents cited on Wilmington Trust and Law
Debenture motions (2.0); telephone call with D. Liebentritt
regarding discovery and other issues (0.2); telephone call with
J, Ducayct regarding Morgan Stanley production (0.2); office
conference with S, Palmer regarding same (0.1); telephone call
with B. Krakauer regarding Morgan Stanley (0.2);
correspondence with Committee regarding discovery (0.2),
telephone call with B. Krakauer regarding Wilmington Trust
(0.2)

Review scttlement in LA Times for consistency with terms 1.50

Office conference with T. Cole, L. Barden, J. Bendernagel 3.60
regarding Morgan Stanlcy (.8); telephone conference with J.

Bendernagel regarding Morgan Stanley (.2); review Zell

motion in Neil and provide comments (.8); telephone

conference with K. Stickles regarding filing of brief in

conncction with Law Debenture fee disgorgement (.3); office

conference with B. Shull regarding Law Debenture fee

disgorgement motion (.4); correspondence with Aurelius

counsel regarding request to become negotiating parties (.3);

review Morgan Stanley materials (.8)

Review emails re: final exclusivity order/CNO (.20); review 50
final order (.10); review emails re: law debenture motion (.20)

Prepare and process data for production to committee 1.50
Email D. Eldersveld re: removal extension motion (.3); revise 70

same and o/c W. Harp re: same (.3); email K. Stickles re: same

(1)

Review disgorgement motion exhibits for confidentiality 10
Case 08-13141-BLS Doc 3904-2 Filed 03/31/10 Page 68 of 73

SIDLEY AUSTIN Lie

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/25/10 SP Lagana
02/25/10 Z Lantos
02/25/10 Z Lantos
02/25/10 Z Lantos
02/25/10 Z Lantos
02/25/10 SF Palmer
02/25/10 J Peltz
02/25/10 JP Platt
02/25/10 TE Ross
02/25/10 T Shim
02/25/10 BS Shull
02/25/10 JM Skakun
02/25/10 AL Triggs
02/25/10 PJ Wackerly
02/25/10 MM Walsh
02/26/10 NJ Alexiou
02/26/10 NJ Alexiou

Narrative

Review and analyze third party documents (6.3); mect with J.
Bendernagel, S. Palmer, D. Miles, N. Alexiou, T. Ross re:
status of review (2.0)

Discuss assignment with §. Lagana (.3); organize selected
documents in chronological order, per S. Lagana (.9)

Update electronic database with new information
Coordinate database fix for contract attorneys
Review and organize selected documents in case library

Telephone call with $. Lagana regarding document production
and revicw issues (0.2); team status meeting (2.7); correspond
with team regarding review tasks (0.6)

Discuss status of document review with J. Ducayet (0.1);
discuss same with J. Platt (0.1); review and respond to email re:
same (0.1)

Produce depository materials to requesting parties

Review final version of Citigroup binder and send to J.
Bendemagel and §. Palmer with comments (1.0); discuss
emergency research request with S. Lagana and N. Alexiou and
meet with contract attorneys to discuss review (1.1); attend
meeting with J. Bendernagel, $. Palmer, and S. Lagana to
discuss review progress and next steps (2.9); review documents
in Citigroup database (1.4)

Run data restriction searches in Morgan Stanley database for
attorney review (0.5); confer with legal team regarding
searches (0.6); search production databases for documents and
prepare documents for attomey review (1.9)

Review Merrill Lynch documents for privilege (1.1); Revise
preliminary injunction motion (.7)

Review Citi documents for privilege

Document production for committee document requests (Citi
emails)

Finalize and send production of privileged documents to
Merrill (3.4); privilege review of Citi documents (3.4)

Review of Citi Documents for privilege

Perform quality control on documents reviewed by contract
attomeys

Obtain new discovery materials sent from Chicago office and
coordinate with litigation support on loading the documents to
make them available for review

Hours

8.30

1,20

1.00
30
60

3.50

30

50
6.40

3.00

1,80

3,70
4.40

6.80

1.50
6.60

.60
Case 08-13141-BLS
SIDLEY AUSTIN tp

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/26/10 NJ Alexiou
02/26/10 JF Bendemagel
02/26/10 R Bryan
02/26/10 SG Contopulos
02/26/10 JE Henderson
02/26/10 SP Lagana
02/26/10 SF Palmer
02/26/10 J Peltz
02/26/10 JP Platt
02/26/10 TE Ross
02/26/10 T Shim
02/26/10 BS Shull
02/26/10 JM Skakun
02/26/10 AL Triggs
02/26/10 AL Triggs
02/26/10 PJ Wackerly
02/26/10 MM Walsh
02/27/10 JF Bendernagel
02/27/10 SP Lagana

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Narrative
Review documents produced by Morgan Stanley employee

Review of Citigroup paper (1.5); telephone call with B.
Krakauer regarding litigation issues (0.3); telephone calls with
C. Bigelow regarding Morgan Stanley (0.5); office conferences
with S. Lagana regarding document review (0.2); review of
correspondence regarding discovery (0.2)

Work with contract attorncys per request

CBS Review additional dates for meet and confer, for
preparations of case management statement

Review emails re: Law Debenture motion and discovery

Review and analyze third party documents (2.0); prepare
documents for J. Bendernagel (3.0)

Follow up regarding further production by Morgan Stanlcy
(0.4); correspond with J. Bendernagel regarding materials for
use in analysis of legal claims (0.3); review senior lender
argument regarding shareholder payments (0.8)

Review and respond to email re: documents (0.2); review
documents (1.0); review and respond to email re: document
depository including transmit revised index to document
depository (0.2)

Revise document depository index for review by Jen Peltz in
preparation for distribution to requesting parties

Review Morgan Stanley documents (1.2); review Citigroup
database for notice of default from bond holders (0.4)

Review, process and load Morgan Stanlcy data for attorney
review; process and load new OCR text for attorney review

Review Merrill Lynch documents for privilege
Review Citi documents for privilege

Document production for committee document requests (Citi
emails)

Research re: identifying potential expert witness (1.5), draft
email to J. Ducayct summarizing rescarch (.5)

Review PHONES default correspondence
Review of Citi Documents for privilege

Review of Citigroup paper (0.7); review of J.P. Morgan
documents (1.3); review of Merrill Lynch paper (0.7)

Review and analyze third party documents

Hours

40
2.70

30
0

50
5.00

1.50

1.40

1.00

1.60

3.00

60
2.50
1.90

2.00

20
3.00
2.70

6.00
Case 08-13141-BLS
SIDLEY AUSTIN ip

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Date Name
02/27/10 MM Walsh
02/28/10 NJ Alexion
02/28/10 JF Bendernagel
02/28/10 JE Henderson
02/28/10 J Tebbe
02/28/10 MM Walsh

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Narrative
Review of Citi Documents for privilege

Perform quality control on documents reviewed by contract
attorneys

Review of case law regarding zone of insolvency issues in pari
delicto and other issues

Review client mark up of Law Debenture draft brief
Prepare documents for attomey review
Review of Citi Documents for privilege

Total Hours

Hours
2,50
1.80

2.50

30
0
4,00

1,294.40
SIDLEY AUSTIN Lip

Case 08-13141-BLS Doc 3904-2 Filed 03/31/10 Page 71 of 73

Invoice Number: 30014652

Tribune Company

RE: Litigated Matters

Name

LJ Nyhan

B Krakauer
JE Henderson
KT Lantry
AM Unger

SS Neely

RW Havel

JF Bendernagel
C Fonstein
KF Blatchford
SG Contopulos
CE Abbinante
KP Kansa

JW Ducayct
RJ Lewis

MC Fischer
ME Walker
KS Mills

SH Katz

DE Bergeron
SF Palmer

J Peltz

WM Harp

JK Ludwig
MD Krueger
GT Coulson
AE Ross

TIME SUMMARY

Hours
2.00
10.10
49.30
25.20
1.10
20.00
50
177.00
10
1.00
1.50
1.50
3.80
82.40
4.30
1.80
25,20
3.30
1.80
36.60
26.40
26.60
4.20
18.00
38.40
7.20
6.10

Rate
$950.00
925.00
850.00
850.00
850.00
825.00
825.00
775.00
775.00
735.00
725.00
710.00
700.00
685.00
650.00
625.00
575.00
560.00
530.00
525.00
525.00
515.00
475.00
475.00
440.00
425.00
425.00

Amount
$1,900.00
9,342.50
41,905.00
21,420.00
935.00
16,500.00
412.50
137,175.00
77.50
735.00
1,087.50
1,065.00
2,660.00
56,444.00
2,795.00
1,125.00
14,490.00
1,848.00
954.00
19,215.00
13,860.00
13,699.00
1,995.00
8,550.00
16,896.00
3,060.00
2,592.50
Case 08-13141-BLS

SIDLEY AUSTIN iP

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters

Name

AL Triggs
GV Demo
CL Kline
MM Walsh
SP Kramer
BS Shull

PJ Wackerly
SA Armbrust
GM King
JM Skakun
SP Lagana
TE Ross
MM Blouin
J Tebbe

R Laurens
K Littlejohn
MA Beltran
O Savell

NJ Alexiou
Z Lantos

J Ortiz

S Hlynski

T Shim

ME Glidden
JP Platt

R Bryan

C Stavropoulos
A Godofsky
KJ Bell

C Gabriel
EJ Kreis

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Hours
63.90
1,50
39.40
36.80
12.80
116.70
89.00
17.60
12.20
22.70
92.40
60.10
2.80
3.50
1.40
1.50
1.30
2.30
49.60
8.60
1,00
6.30
41.80
2.00
15.20
2.00
2.00
1.30
6.50
3.00
30

Rate
425.00
425.00
425.00
395.00
395.00
395.00
395.00
380.00
375.00
355.00
325.00
325.00
265.00
265.00
265.00
265.00
265.00
265.00
250.00
240,00
210.00
210,00
210.00
210,00
200.00
190.00
185.00
185.00
185.00
130.00
100,00

Amount
27,157.50
637.50
16,745.00
14,536.00
5,056.00
46,096.50
35,155.00
6,688.00
4,575.00
8,058.50
30,030.00
19,532.50
742.00
927.50
371.00
397.50
344.50
609.50
12,400.00
2,064.00
210.00
1,323.00
8,778.00
420.00
3,040.00
380.00
370.00
240.50
1,202.50
390.00
30.00
Case 08-13141-BLS
SIDLEY AUSTIN uP

Invoice Number: 30014652
Tribune Company

RE: Litigated Matters
Name

JO Butler

Total Hours and Fees

Doc 3904-2 Filed 03/31/10

Hours

1.50
1,294.40

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Rate
100.00

Amount
150.00

$641,396.00
